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                        EXHIBIT 10
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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                     TEXARKANA DIVISION

   ______________________________________
                                                  )
   CITY OF NEW BOSTON, TEXAS,                     )            Case No. 5:20-cv-00135-RWS
   individually and on behalf of all others       )
   similarly situated,                            )
                                                  )
                                      Plaintiff,  )
           v.                                     )
                                                  )
   NETFLIX, INC., and HULU, LLC,                  )
                                                  )
                                      Defendants. )
   ______________________________________ )


                                   EXPERT REPORT OF JESSE DAVID, PH.D.


   I.        ASSIGNMENT

   1.        Plaintiff in this action—City of New Boston, Texas (“New Boston”)—alleges that
   Defendants Netflix, Inc. (“Netflix”) and Hulu, LLC (“Hulu”) “provide video service in Texas
   municipalities . . . us[ing] wireline facilities (i.e., broadband wireline facilities) located at least
   in part in public rights-of-way” and are therefore “required by law to pay each of those
   municipalities a franchise fee of 5% percent of their gross revenue, as derived from their
   providing video service in that municipality.”1 Plaintiff seeks to represent a class of “[a]ll
   Texas municipalities in which one or more of the Defendants has provided video service.”2
   Plaintiff uses the phrase “video service” as it is defined in Chapter 66 of the Texas Utilities
   Code (the “Act”).3



   1
    Class Action Complaint, August 11, 2020 (“Complaint”), ¶¶ 1 and 2; see also Complaint, ¶¶ 20, 34, and
   39(e).
   2
    Plaintiff City of New Boston, Texas’s Motion for Class Certification and Appointment of Class
   Representative and Class Counsel, May 14, 2021 (“Class Certification Motion”), p. 6.
   3
       Complaint, ¶ 9, citing Tex. Util. Code § 66.002(10); and Class Certification Motion, p. 34.
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   2.        I understand that Plaintiff has not filed any expert reports addressing the issue of
   damages. However, in support of its Class Certification Motion, Plaintiff proposes the
   following damages model:4

             Damages in this case can be determined by multiplying Defendants’ gross revenues
             (as defined specifically by the Act) derived from subscribers with service addresses
             in the geographic areas of the proposed Class members by the percentage each
             proposed Class member charges as a video service provider fee (up to 5%, as set
             by municipal ordinance).

   3.        I have been asked by counsel for Netflix to review Plaintiff’s filings and other
   information in the record and to provide opinions regarding whether damages can be calculated
   on a classwide basis under Plaintiff’s proposed approach or otherwise.5 My report, which
   follows, is based on my education, professional training, and experience and my review and
   analysis of information produced in the course of this litigation as well as public information. 6
   The materials I and my staff reviewed and which I have considered and relied upon in the
   preparation of my opinions are listed in Appendix 1. I reserve the right to revise my opinions if
   additional information is provided to me—including but not limited to any expert reports,
   deposition testimony and exhibits, etc.—or if additional research, reflection, or the correction
   of inadvertent errors leads me to change my opinion.

   II.       QUALIFICATIONS

   4.        I am an economist and Partner at Edgeworth Economics, L.L.C. (“Edgeworth”).
   Edgeworth is a consulting firm that provides economic and financial analysis for complex
   litigation and public policy matters. Prior to founding Edgeworth with a group of economists in
   2009, I was Senior Vice President at Criterion Economics and, before that, a Vice President at




   4
       Class Certification Motion, p. 19 (also, pp. 1 and 11-12).
   5
    I have not yet been asked to perform any calculation of damages for Plaintiff or for any other member
   of the proposed class or to address any specific calculation of damages by Plaintiff (which I understand
   has not presented any such calculations). I expect to respond to any such calculations from Plaintiff if and
   when they are submitted.
   6
    I also interviewed Steven Turner of FTI Consulting (expert for Netflix), and the following Netflix
   personnel: Pauline Wan (Director, Legal), Mohit Vera (Director, Content Delivery), Michael Smith
   (Director of Interconnection), and Zack Gorman (Consumer Insights Analyst).

                                                          2
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   National Economics Research Associates, where, for approximately a dozen years, I performed
   economic analysis for a range of litigation, strategy, and public policy matters.

   5.      I hold a Bachelor’s degree in Physics and Economics from Brandeis University and a
   Ph.D. in Economics from Stanford University. Throughout my professional career, I have
   specialized in applied microeconomics and econometrics (the application of statistics to
   economic problems), as well as economic sub-fields related to regulation, antitrust, and
   intellectual property. My practice has focused on complex valuation matters, analysis of
   markets and regulations, and the assessment of damages in a variety of types of civil disputes.
   In my role as an economist, I have provided expert testimony and other consulting services on a
   variety of issues related to public utilities, including electric, telecommunications, natural gas,
   and others. In some instances, my research has been incorporated in public speeches, published
   writings, and expert testimony. My curriculum vitae, which includes lists of my testimony
   during the previous four years and publications I have authored in the previous ten years, is
   attached as Appendix 2.

   6.      Edgeworth’s fees for professional services are based on hourly billing rates. My time is
   currently billed at $795 per hour. My firm’s compensation does not depend on the outcome of
   this case.

   III.    SUMMARY OF CONCLUSIONS

   7.      My conclusions can be summarized as follows:

   8.      Plaintiff’s proposed damages approach does not address differences between Netflix
   and Hulu – The services offered by Netflix and Hulu differ in key respects that may impact the
   assessment of damages. In particular, Hulu generates advertising revenue from some of its
   streaming services and offers subscription options that include live television, while Netflix’s
   services do not include either of those features. To the extent that these issues may impact
   damages, Plaintiff’s proposed approach does not address these key features of Defendants’
   respective business models.

   9.      Plaintiff’s proposed damages approach is inconsistent with the allegations in the
   Complaint – Plaintiff alleges in its Complaint that each member of the proposed class is
   entitled to fees applied to Netflix’s revenues “derived from [its] operations in each such

                                                    3
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   municipality” and/or “derived from their providing video service in that municipality.” Under
   that theory, Plaintiff’s damages approach should account for the fact that Netflix’s video
   content can be watched in a particular city by individuals who are not permanent residents of
   that city as well as the extent to which Netflix’s service is not “video service” as defined in the
   Act. In its Class Certification Motion, however, Plaintiff does not even attempt to develop a
   method to identify Netflix’s “operations” in each municipality or the extent to which Netflix
   “provid[es] video service” in each municipality, let alone a method to calculate any associated
   revenues. Instead, Plaintiff proposes that damages should be a percentage of the revenues that
   Netflix receives from subscribers who have “service addresses” in that city, regardless of
   whether those residents stream Netflix content within that city, whether non-residents stream
   Netflix content in that city, or whether wirelines in public rights-of-way are utilized to stream
   the content. Thus, Plaintiff has failed to identify a method for assessing damages that is
   consistent with its theory of liability.

   10.     Plaintiff’s proposed damages approach does not identify any method for determining
   the municipal locations of Netflix’s subscribers – Although Plaintiff does not define what it
   means by “service addresses” or propose any method to identify the “service addresses” of
   Netflix subscribers, there are problems with any methodology it might consider. First, Netflix
   does not collect street address information from subscribers to its streaming service because,
   unlike cable or other telecommunications companies, that information has no relevance to
   Netflix’s relationship with its subscribers. When a new customer subscribes to Netflix’s
   streaming service through Netflix directly, the customer provides, at most, only a billing zip
   code associated with the payment method, which may not be the same as the zip code
   associated with the subscriber’s residence. Moreover, Netflix does not receive even a billing
   zip code for subscribers who sign up through third parties. Second, zip codes frequently do not
   map to individual municipalities—i.e., a single zip code may contain residents who live in
   multiple cities. Third, I understand that the data associated with the IP addresses used for
   Netflix streaming sessions is not sufficiently accurate to determine the location at which the
   user is streaming content, much less the residential address of the subscriber, since the user
   may be streaming content at an entirely different location. In summary, Plaintiff has identified
   no method to determine the Netflix subscribers who reside in any particular municipality or



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   who have billing addresses in a particular municipality, and Netflix appears not to have
   information to do so on a classwide basis.

   11.     Plaintiff has not proposed and cannot propose any method for identifying whether, or to
   what extent, Netflix “operates” or provides “video services” in any particular Texas
   municipality – Even if Plaintiff had attempted to develop a damages model that would match its
   theory of liability as stated in the Complaint, it would not be possible to accomplish this on a
   classwide basis due to the nature of Netflix’s business. Netflix users are not tied to a single
   location and they may conduct some or even all of their viewing in locations different from
   their billing addresses or primary residences (which themselves may not be the same and/or
   may not be identifiable). For example, Netflix users can stream content when commuting or
   working outside of their home municipality, when traveling on vacation or business, when
   living in temporary accommodations (such as a college dormitory or hospital), when staying at
   a second home, or when the account allows multiple users and any of the users reside in or
   travel to locations other than the residential address or billing address of the account subscriber.
   These issues are critical, given Plaintiff’s allegations that the law requires that video service
   provider fees be based on revenue derived from “providing video service in that municipality.”

   12.     Plaintiff’s proposed damages approach does not account for video transmission
   methods that do not use wireline facilities in the public right-of-way or that rely on commercial
   mobile service – Plaintiff’s proposal does not address the potential for Netflix users to stream
   video content using transmission methods that do not rely on wireline facilities in the public
   rights-of-way, which I understand are outside the Act’s definition of “video service.” Plaintiff’s
   expert, Mr. Malfara, testified that fixed wireless, direct satellite, and at least certain mobile
   services may not rely on wireline facilities in the public rights-of-way. Plaintiff’s proposal also
   does not address the potential for Netflix users to stream video content “provided by a
   commercial mobile service provider.” These issues could be significant in any assessment of
   classwide damages, since satellite internet connections are common in Texas and many Texas
   residents use mobile service, including as their only internet connection.

   13.     Plaintiff’s proposed damages approach does not account for video transmission
   methods that may be exempt from franchise fees – Plaintiff’s proposal also does not address the
   fact that the delivery of Netflix content may be exempt from franchise fees for other reasons.

                                                     5
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   As one example, interactive, on-demand video programming provided by certain internet
   service providers (ISPs) in rural areas of Texas may be exempt from franchise fees. I
   understand that at least 21 ISPs in Texas that offer service to at least 230 municipalities may
   qualify for this exemption, and Texas residents may use these ISPs to stream Netflix content.

   14.    Plaintiff’s proposed damages approach bears no relationship to any costs to the
   municipalities associated with the delivery of Netflix content – I understand that Netflix, unlike
   cable and other telecommunications providers, does not install any physical equipment or
   conduct any construction or maintenance activities in the public rights-of-way of any Texas
   municipality. Rather, like most other vendors whose customers access their services over the
   internet, Netflix content is transmitted by ISPs on the ISPs’ pre-existing networks, which may
   include mobile, fixed wireless, and satellite networks as well as wireline networks. Unlike the
   services provided by telecommunications operators, the introduction of Netflix’s service to
   customers residing in a particular municipality does not impose any cost on the municipality.
   Plaintiff’s proposed damages approach therefore bears no relationship to any cost that the
   delivery of Netflix content by ISPs through wireline facilities or networks in the public rights-
   of-way (to the extent that may occur) may impose on members of the proposed class.

   15.    Plaintiff’s proposed damages approach does not address the competing and
   contradictory interests of the members of the proposed class – Even assuming Plaintiff’s
   damages approach fit its theory of liability and could be implemented, Plaintiff is proposing an
   approach that is not in the best interests of all class members and creates conflicts among them.
   A significant problem relates to the frequency of use of Netflix’s services by people located in
   each municipality whose subscriptions are associated with billing zip codes or residential
   addresses in other municipalities. Subscribers who fall into this category may include, for
   example, college students, tourists, patients of hospitals and care facilities, business travelers,
   and other temporary residents and visitors. Municipalities with higher percentages of such
   transient residents would benefit from an allocation mechanism that assigned revenues to the
   actual location in which the video content is viewed, whereas municipalities with lower
   percentages of such residents, like New Boston, would benefit from an allocation mechanism
   that assigned revenues to a fixed location associated with the subscriber such as a residential or
   billing address (assuming that could be determined), regardless of where the content actually is


                                                     6
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   being streamed. Moreover, awarding damages to New Boston associated with Netflix viewing
   that occurs in other municipalities by subscribers whose residential or billing addresses are in
   New Boston would lead to overcompensation of New Boston and undercompensation of those
   other municipalities, according to the theory of liability expressed in the Complaint.

   IV.       BACKGROUND

             A. Netflix

   16.       Netflix offers an on-demand subscription streaming service that provides a library of
   video content to its members for streaming on internet-connected devices. 7 Netflix’s streaming
   service is provided without commercials or other types of advertisements.8 Netflix currently
   offers various monthly subscription plans for video streaming—ranging from $8.99 to $17.99
   per month in the U.S.—which allow users of an account to watch video content on a different
   number of devices at the same time (one for the least expensive option and four for the most
   expensive).9

   17.       Netflix subscribers who sign up for a streaming account directly through Netflix
   provide information including a credit card number or other electronic payment method (e.g.,
   gift card or PayPal account) and an email address.10 I understand that Netflix generally obtains
   a billing zip code from its subscribers who sign up for an account directly with Netflix, but that
   Netflix does not require and generally does not obtain any other details related to the
   subscriber’s billing address, residential address, or any other address.11 Netflix customers also
   can sign up through third parties, such as T-Mobile and ISPs such as Cox and Comcast




   7
     Netflix 2020 Form 10-K, filed January 28, 2021, p. 1; Complaint, pp. 2-4; and Declaration of Chengyi
   Long in Support of Netflix, Inc.’s Opposition to Plaintiff’s Motion for Class Certification, May 31, 2021,
   (“Long Declaration”), ¶ 3.
   8
    Netflix 2020 Form 10-K, filed January 28, 2021, p. 1; and Netflix website, www.netflix.com (Frequently
   Asked Questions) and help.netflix.com/en/node/412; and Long Declaration, ¶ 8.
   9
       Netflix website, help.netflix.com/en/node/24926; and Long Declaration, ¶¶ 9 and 11-13.
   10
     Netflix website, help.netflix.com/en/node/100627 and help.netflix.com/en/node/116380; and Long
   Declaration, ¶ 16.
   11
        Interviews with Netflix personnel; and Long Declaration, ¶¶ 15-16.

                                                        7
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   Xfinity.12 I understand that Netflix generally does not receive any street addresses or zip codes
   associated with these subscribers.13

   18.       A Netflix subscription is not tied to any particular location. Rather, users of a Netflix
   subscription can view content at any location, so long as they have a broadband internet
   connection, and they can use any of a variety of types of devices (such as a television, tablet,
   computer, smart phone, or game console) and data transmission (such as cable, fiber, satellite,
   or cellular).14 Subscribers may watch content at a variety of locations, such as their residence,
   workplace, or a public location (e.g., airport, train station, coffee shop, or library) with a
   broadband internet connection. Subscribers also may watch content on a mobile device at any
   location where they have adequate cellular service for video streaming. Netflix subscribers
   therefore can view content using any broadband internet connection that they can access,
   regardless of whether they pay for that connection and regardless of whether that connection is
   provided by cellular, satellite, wired, fixed wireless, or other technology. Moreover, as noted
   above, depending on the subscription level, multiple users under the same subscription may
   simultaneously watch Netflix content on different devices in different locations and using
   different types of broadband internet connections.

             B. Hulu

   19.       Hulu offers a service that allows its subscribers to stream original and acquired video
   content with either limited commercial announcements or no commercial announcements,
   depending on the subscription level.15 Hulu generates revenue from its subscribers as well as




   12
        Netflix website, help.netflix.com/en/node/116380; and Long Declaration, ¶ 17.
   13
     Interviews with Netflix personnel; and Long Declaration, ¶ 17. I understand that Netflix may have
   address information for some subscribers if they currently or previously had a subscription to Netflix’s
   DVD service.
   14
      Netflix website, www.netflix.com (Frequently Asked Questions); Long Declaration, ¶ 8; and
   Declaration of Michael Smith in Support of Netflix, Inc.’s Opposition to Plaintiff’s Motion for Class
   Certification, June 2, 2021, (“Smith Declaration”), ¶ 3. Netflix content can be viewed through the Netflix
   app on a “smart” television or through a streaming media player that can be connected to a traditional
   television. [Netflix website, help.netflix.com/en/node/33222]
   15
        The Walt Disney Company 2020 Annual Report, pp. 16-17; and Complaint, pp. 2-4.

                                                        8
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   from selling advertising to third parties.16 Hulu also offers subscriptions that allow users to
   stream live, linear programming from cable and major broadcast networks.17

             C. The Act

   20.       I understand that the Act requires providers of “video service” to obtain authorization
   before providing that service.18 I understand that the Act defines “video service” as “video
   programming services provided through wireline facilities located at least in part in the public
   right-of-way,” but that the definition “does not include any video service provided by a
   commercial mobile service provider.”19

   21.       I understand that the Act requires providers of video service to pay each Texas
   municipality a fee of 5 percent of “gross revenue” derived “from the operation of the cable
   service provider’s or the video service provider’s network to provide cable service or video
   service within the municipality.”20 I also understand that “gross revenue” is defined to include,
   among other things, “all fees charged to subscribers for any and all cable service or video
   service provided by the holder of a state-issued certificate of franchise authority.”21

             D. New Boston

   22.       New Boston is a city in Bowie County, Texas with a population of approximately
   4,600.22 I understand that New Boston does not have any ordinances governing franchise fees
   for video service.23




   16
        The Walt Disney Company 2020 Annual Report, p. 16.
   17
        Hulu website, help.hulu.com/s/article/how-much-does-hulu-cost?language=en_US.
   18
        Tex. Util. Code § 66.003.
   19
        Tex. Util. Code § 66.002 (10).
   20
        Tex. Util. Code § 66.002 (6)(A).
   21
        Tex. Util. Code § 66.002 (6)(A).
   22
     City Data website, www.city-data.com/city/New-Boston-Texas.html; and Deposition of Johnny
   Branson, June 12, 2021 (Rough) (“Branson Deposition (Rough)”), pp. 6, 37-38.
   23
        Deposition of Elizabeth Lea, June 11, 2021 (“Lea Deposition”), p. 53.

                                                        9
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             E. Plaintiff’s Allegations

   23.       Plaintiff alleges that Defendants provide “video service” in Texas municipalities and
   that they are required to pay a “franchise fee” of 5 percent of some measure of gross revenue
   associated with the service.24

   24.       In its Complaint, Plaintiff uses various phrasings to describe the “gross revenues” of
   Defendants subject to the franchise fee in each municipality, including “gross revenues”:

         •   “derived from their providing video service in that municipality”;25

         •   “from the provision of services in that city”;26

         •   “derived from their operations in that municipality”;27 and

         •   “derived from their operations in each such municipality.”28

   Plaintiff, however, provides no further explanation of the meanings of these phrases.

   25.       Plaintiff seeks to represent a class of allegedly “similarly situated” Texas municipalities
   in which one or more Defendants has provided “video service” as defined in the Act.29

             F. Plaintiff’s Class Certification Motion and Expert Reports

   26.       In support of its Class Certification Motion, Plaintiff provided two expert reports: one
   from David Malfara, Sr., who states that he is the CEO of “a business strategy, management,
   operations, and emerging technology consulting company,”30 and one from David Simon, who
   states that he is a “television industry executive” and that he provides “advisory and consulting
   services for television networks, channels, production companies, and media-related




   24
        Complaint, ¶¶ 1-2.
   25
        Complaint, ¶ 2.
   26
        Complaint, ¶ 18.
   27
        Complaint, ¶ 33.
   28
        Complaint, ¶ 39(e).
   29
        Complaint, ¶ 22; and Class Certification Motion, pp. 1 and 6-7.
   30
        Expert Report of David Malfara, Sr., May 14, 2021 (“Malfara Report”), ¶ 4.

                                                        10
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   technology companies.”31 Neither expert puts forward any model to calculate damages. Thus,
   neither expert identifies any model that would use common evidence to calculate damages for
   members of the proposed class in a manner that is consistent with Plaintiff’s theory of liability.

   27.       Instead, in its Class Certification Motion, Plaintiff states the following regarding
   damages:32

             Damages in this case can be determined by multiplying Defendants’ gross revenues
             (as defined specifically by the Act) derived from subscribers with service addresses
             in the geographic areas of the proposed Class members by the percentage each
             proposed Class member charges as a video service provider fee (up to 5%, as set
             by municipal ordinance).

   Unlike in its Complaint, Plaintiff no longer claims that damages should be determined based on
   Defendants’ gross revenues “derived from their providing video service in that municipality”33
   or “derived from their operations in that municipality.”34 Plaintiff instead now claims that
   damages should be based on Defendants’ gross revenues “derived from the flat monthly
   subscriptions of subscribers with service addresses located in New Boston within any given
   quarter,” “regardless of whether Defendants’ video programming is viewed by New Boston
   residents outside the City, by non-residents inside the City, or by residents via mobile
   devices.”35 Plaintiff further states that damages under this approach are “easily identifiable and
   capable of calculation using a single, common formula.”36


   31
        Expert Report of David Simon, May 14, 2021 (“Simon Report”), ¶¶ 11 and 14.
   32
        Class Certification Motion, p. 19.
   33
        Complaint, ¶ 2.
   34
        Complaint, ¶ 33.
   35
     Class Certification Motion, p. 5. Plaintiff has not defined “service address” as it is used in the Class
   Certification Motion and Plaintiff did not use this phrase in its Complaint. I also understand that “service
   address” does not appear in the Texas statute at issue. Based on Plaintiff’s statements in its Class
   Certification Motion, Plaintiff appears to use the term “service address” for a particular Netflix subscriber
   to refer to either the subscriber’s residential address or the subscriber’s billing address. New Boston’s
   representative also testified that it was her understanding that “service address” meant residential address.
   [Lea Deposition, p. 58] I address both possibilities in this report. In a similar case currently being litigated
   by the same plaintiffs’ attorneys in Ohio, the plaintiff there defined “service address” as the subscriber’s
   residential address. [Plaintiff City of Maple Heights, Ohio’s Responses to Defendant Netflix, Inc.’s First
   Set of Interrogatories, April 19, 2021, in City of Maple Heights, Ohio v. Netflix, Inc., and Hulu, LLC, case
   no. 1:20-CV-01872, p. 16]
   36
        Class Certification Motion, p. 19.

                                                         11
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   V.         PLAINTIFF’S PROPOSED DAMAGES APPROACH DOES NOT ADDRESS DIFFERENCES
              BETWEEN NETFLIX AND HULU

   28.        There are at least two differences between the services offered by Netflix and those
   offered by Hulu that may raise separate issues regarding the application of Plaintiff’s proposed
   damages approach. (See Sections IV.A and IV.B, above.) First, Hulu generates advertising
   revenue from some of its streaming services, while Netflix does not.37 To the extent that
   Plaintiff’s proposed damages approach would require an assessment of the revenue generated
   from advertisements, that approach would be different for Hulu than it would be for Netflix.38

   29.        Second, Hulu offers subscription options that include live television, while Netflix does
   not.39 To the extent that the relevant statutes and ordinances treat live television differently than
   streamed on-demand content, Plaintiff’s proposal does not address any such differences.

   30.        I understand that there may be additional differences between the business models of
   Netflix and Hulu; however, I have not been asked to address such issues at this time. If Plaintiff
   offers more details about its proposed damages approach or provides any specific calculations,
   I expect to address such issues at that time.

   VI.        PLAINTIFF’S PROPOSED DAMAGES APPROACH IS INCONSISTENT WITH THE
              ALLEGATIONS IN THE COMPLAINT

   31.        In its Class Certification Motion, Plaintiff proposes a damages approach under which
   the franchise fee is assessed against Netflix’s gross revenues “derived from [Netflix]
   subscribers with service addresses” in each city.40 Plaintiff goes on to clarify:41

              To be clear, the franchise fee is calculated the same under the Act regardless of
              whether Defendants’ video programming is viewed by New Boston residents
              outside the City, by non-residents inside the City, or by residents via mobile
              devices. . . . [C]alculation of the franchise fee is thus based solely on the service



    See also, Deposition of David L. Simon, May 3, 2021, (“Simon Deposition”), pp. 87 and 169; and Long
   37

   Declaration, ¶ 8.
   38
        Tex. Util. Code § 66.002 (6)(A).
   39
        See also, Simon Deposition, p. 107; and Long Declaration, ¶ 5.
   40
        Class Certification Motion, p. 19.
   41
        Class Certification Motion, p. 5.

                                                       12
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             address at which subscribers are located, and not where or how they ultimately view
             each and every piece of programming.

   Plaintiff therefore is now asserting that each city’s fee should be a percentage of the revenues
   that Netflix receives for its streaming service from subscribers who have an address in that city,
   regardless of whether those subscribers view Netflix content within that city and regardless of
   whether they watch content using a non-wired internet service or a mobile service. Implicit in
   this assertion is the claim that a Texas city is not entitled to any percentage of the revenues that
   Netflix receives related to content watched within the city by individuals who do not have a
   street address (like a residential or billing address) in that city.

   32.       Plaintiff’s proposed approach, however, does not comport with its own allegations as
   stated in the Complaint. As described above, Plaintiff alleges in its Complaint that it, and other
   members of the proposed class, are entitled to fees associated with revenues “derived from”
   Netflix’s “operations in each such municipality” and/or Netflix’s “providing video service in
   that municipality.” Under that theory, Plaintiff would need to propose a damages model that
   accounts for the fact that Netflix’s video content can be watched in a particular city by
   individuals who do not have billing addresses in that city and are not permanent residents of
   that city (such as tourists, college students, or business travelers). Plaintiff also would need to
   propose a damages model that considers whether any portion of Netflix’s service is not “video
   service” because it is not provided over “wireline facilities located at least in part in the public
   right-of-way,” or because it is “provided by a commercial mobile service provider.”42

   33.       Notwithstanding the allegations in its Complaint, in its Class Certification Motion,
   Plaintiff does not even attempt to propose any method to identify Netflix’s “operations” in each
   municipality or any method to identify whether or to what extent Netflix “provid[es] video
   service in [each] municipality,” let alone any method to calculate revenues associated with
   those operations or video services. Instead, Plaintiff now asserts that damages for a particular
   municipality should be based on revenues from Netflix subscribers with “service addresses” in
   that municipality, regardless of whether those subscribers viewed any Netflix content at those
   addresses or in that municipality and regardless of whether wireline facilities in that



   42
        Tex. Util. Code § 66.002 (10).

                                                      13
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   municipality were used to stream the content. Thus, Plaintiff has failed to identify a method for
   assessing damages that is consistent with its theory of liability.

   VII.      PLAINTIFF’S PROPOSED DAMAGES APPROACH DOES NOT IDENTIFY ANY METHOD
             FOR DETERMINING THE MUNICIPAL LOCATIONS OF NETFLIX’S SUBSCRIBERS

   34.       Although neither Plaintiff nor Plaintiff’s experts propose any method to identify the
   “service addresses” (or residential addresses or billing addresses) of Netflix subscribers, there
   are problems with any methodology they might consider.

   35.       First, as discussed above, Netflix does not collect street address information from its
   streaming subscribers because, unlike cable or other telecommunications companies, that
   information has no relevance to Netflix’s relationship with its streaming subscribers. Netflix
   members can watch Netflix content anywhere in the United States and in more than 190 other
   countries so long as they have a broadband internet connection.43 When a new customer
   subscribes to Netflix’s streaming service through Netflix directly, the customer provides, at
   most, only a billing zip code associated with the payment method, which may not be the same
   zip code as the subscriber’s residence. I understand that Netflix does not receive even a billing
   zip code for subscribers who sign up for Netflix’s streaming service through a third party, such
   as an ISP.44

   36.       Second, even assuming that the billing zip code was always the same as the subscriber’s
   residential zip code or “service address” zip code (to the extent those are different), zip codes
   frequently do not map to individual municipalities—i.e., a single zip code may contain
   residents who live in multiple cities.45 This situation occurs in many locations within Texas.
   For example, while New Boston falls entirely within the boundary of a single zip code (75570),
   that zip code stretches well beyond the New Boston city limits and even into another county.46
   The differences between zip code boundaries and municipality boundaries are more stark in
   other areas of Texas. For example, as shown in Figure 1, the City of McAllen, Texas intersects


   43
        Smith Declaration, ¶ 3.
   44
        Interviews with Netflix personnel; and Long Declaration, ¶ 17.
   45
        UnitedStatesZipCodes.org website, www.unitedstateszipcodes.org/zip-code-database.
   46
     ZipMap website, zipmap.net/Texas/Bowie_County/New_Boston.htm; and Zip Data Maps website,
   zipdatamaps.com/75570.

                                                       14
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   with the boundaries of eight zip codes, but only one of those zip codes (78501) is contained
   entirely within the city.47 One zip code (78541) straddles the boundaries of McAllen and the
   neighboring City of Edinburg, Texas.48 To make matters even more complicated, portions of
   zip code 78541 fall outside the boundaries of both McAllen and Edinburg.49 If Plaintiff were to
   rely on billing zip codes as a basis to determine the location of a Netflix subscriber’s residence
   or “service address” (to the extent they are different) and then to assign Netflix’s revenue from
   that subscriber to a particular city, there would be no way to accurately determine the specific
   municipality that should be granted fees without individualized inquiries.50 Similarly, there
   would be no classwide way to identify and exclude customers in unincorporated residential
   areas, whose revenues I understand would not be subject to any “video service fee” under
   Plaintiff’s theory of liability and proposed class definition here (which includes only
   “municipalities”).




   47
        Zip Data Maps website, zipdatamaps.com/zipcodes-mcallen-tx.
   48
     ZipMap website, zipmap.net/Texas/Hidalgo_County/Edinburg.htm and
   zipmap.net/Texas/Hidalgo_County/McAllen.htm.
   49
        Zip Data Maps website, zipdatamaps.com/78541.
   50
     An individualized inquiry of this sort would be a considerable undertaking. According to Netflix’s
   subscriber data, there are 4,624 reported billing zip codes with at least one subscriber in Texas (based on
   billing zip code) and 2,286 of those zip codes have fewer than 20 subscribers. Sixty-one of the zip codes
   with fewer than 20 subscribers (based on billing zip code) are standard zip codes, while the rest include
   “unique” zip codes associated with a specific facility (e.g., a corporate headquarters), “P.O. Box” zip
   codes associated with a specific post office, or nonexistent zip codes (perhaps due to data entry errors).
   [NETFLIX_NEW BOSTON_0000317; and UnitedStatesZipCode.org website,
   www.unitedstateszipcodes.org and www.unitedstateszipcodes.org/zip-code-database]

                                                       15
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                                           Figure 1
                         Zip Code Maps for McAllen and Edinburg, Texas




   Source: ZipMap website: zipmap.net/Texas/Hidalgo_County/Edinburg.htm and
        zipmap.net/Texas/Hidalgo_County/McAllen.htm.

   37.    Third, I understand that each time a Netflix user streams Netflix content, there is an IP
   address associated with that session.51 I understand, however, that data associated with IP
   addresses is not sufficiently accurate to determine the location at which the user is streaming
   content, and it certainly cannot be used to identify the residential or billing address of the
   subscriber, since the user may be streaming content at an entirely different location.52 In
   addition, I understand that some users stream Netflix content through a virtual private network
   (“VPN”) which also may mask the users’ true locations.



   51
     Declaration of Zack Gorman in Support of Netflix, Inc.’s Opposition to Plaintiff’s Motion for Class
   Certification, June 4, 2021, (“Gorman Declaration”), ¶ 3.
   52
    Interview with Steven Turner; and Deposition of David Malfara, Sr., April 29, 2021 in City of Maple
   Heights, Ohio v. Netflix, Inc., and Hulu, LLC, case no. 1:20-CV-01872 (“Malfara April 2021
   Deposition”), p. 108; and Gorman Declaration, ¶ 3.

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   38.       In summary, Plaintiff asserts that members of the proposed class are entitled to damages
   related to Netflix’s revenues from subscribers whose addresses fall within the “geographic
   area” of the municipalities. Plaintiff, however, has identified no method to determine those
   subscribers or their addresses or to link the addresses to particular municipalities, and Netflix
   appears not to have information to do so on a classwide basis.

   VIII. PLAINTIFF HAS NOT PROPOSED AND CANNOT PROPOSE ANY METHOD FOR
         IDENTIFYING WHETHER, OR TO WHAT EXTENT, NETFLIX “OPERATES” OR PROVIDES
         “VIDEO SERVICES” IN ANY PARTICULAR TEXAS MUNICIPALITY

   39.       Even if Plaintiff had attempted to develop a damages model that would match its theory
   of liability as stated in the Complaint (i.e., based on revenues associated with Netflix’s
   “operations” or “provision of services” in a particular municipality), it would not be possible to
   accomplish this on a classwide basis due to the nature of Netflix’s business.

   40.       The problem can be understood by contrasting Netflix’s business model with that of
   traditional telecommunications providers. Traditional telecommunications utilities—such as
   telephone, cable, and wired internet providers—connect their wireline facilities to a household
   through a telephone jack, cable box, or internet modem (which may be provided by or owned
   by the utility), and the location of the subscriber using the service generally can be identified.
   Moreover, the nature of these services is such that the data transmitted by the provider
   generally is utilized by the customer at the same location, which could be described as the
   “service address” for that customer. This characteristic is clear from the Act, which states, “a
   provider’s network consists solely of the optical spectrum wavelengths, bandwidth, or other
   current or future technological capacity used for the transmission of video programming over
   wireline directly to subscribers within the geographic area within the municipality as
   designated by the provider in its franchise.”53

   41.       Netflix, however, does not operate in this manner, and the concept of a “service
   address” has no relevance to Netflix’s business model. As I describe above, Netflix’s streaming
   service does not require subscribers to identify any particular address when they sign up or
   when they view content. Moreover, Netflix users are not tied to a single location and they may
   conduct some or even all of their viewing in locations different from their primary residences

   53
        Tex. Util. Code § 66.002 (6)(C).

                                                     17
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   or their billing zip codes (which themselves may not be the same).54 Netflix users can view
   content under a variety of circumstances that would not involve watching content at the
   subscriber’s residential or billing or other physical address in a Texas city (much less using a
   wireline broadband connection at that address), including, for example:

         •   when commuting or working outside of their home municipality;

         •   when traveling on vacation or business;

         •   when living in temporary accommodations, such as a college dormitory, hospital, or
             rehabilitation facility;

         •   when staying at a second home; or

         •   when the account allows multiple users (or when subscribers share their passwords with
             other users), and any of the users reside at or travel to locations other than the address of
             the account subscriber.

   Thus, it is unclear how Netflix even could identify the “geographic area” of its “network” based
   on its business model and the data available to the company from its customers. These
   problems would invalidate any proposal for a simple, classwide model to calculate Netflix’s
   revenues associated with viewing at a particular “service address,” as asserted by Plaintiff in its
   Class Certification Motion.

   42.       In its Class Certification Motion, Plaintiff claims that “[u]nder the plain language of the
   Act, calculation of the franchise fee is thus based solely on the service address at which
   subscribers are located, and not where or how they ultimately view each and every piece of
   programming” and refers to Mr. Malfara’s opinions for support.55 However, the cited
   paragraphs of Mr. Malfara’s report say no such thing. In fact, Mr. Malfara never mentions the
   term “service address” in his report and he testified that he is not offering the opinion for which




   54
        Smith Declaration, ¶ 3.
   55
        Class Certification Motion, p. 5, citing Malfara Report, ¶¶ 39-46.

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   he is cited by Plaintiff.56 Instead, in the cited paragraphs, Mr. Malfara describes the
   arrangement whereby he claims that ISPs “use these public rights-of-way for the placement and
   maintenance of facilities” and asserts that “any service provided to those wireline ISP
   subscribers over those facilities—including Netflix and Hulu’s services—could not be provided
   without transiting the public right-of-way.”57 Here Mr. Malfara argues tautologically: content
   provided through wirelines in the public right-of-way transits the public right-of-way. Left
   unsaid is whether all—and if not all, what portion—of Netflix’s streamed content transits wires
   in the public right-of-way of the specific municipality at issue, that is, the municipality which
   may be identified as the home of a Netflix subscriber’s “service address” (setting aside the
   aforementioned difficulties with applying the concept of a “service address” to Netflix
   subscribers).

   43.       These issues are critical, given Plaintiff’s specific allegations. Plaintiff alleges that
   Netflix must pay fees based on revenue derived from “providing video service in that
   municipality.”58 Plaintiff, however, has not identified any method for identifying whether, or to
   what extent, Netflix provides or subscribers receive “video service” in any particular Texas
   municipality. Plaintiff’s reliance on “service address” (whether residential address or billing
   address or some other fixed physical location)—even if, contrary to fact, those could be
   identified from the billing zip codes collected by Netflix from some subscribers—is still
   misplaced, as Plaintiff has identified no method to confirm whether and to what extent
   Netflix’s video content is viewed at that same address.




   56
     Deposition of David Malfara, Sr., June 8, 2021 (“Malfara June 2021 Deposition”), p. 99. [Q. And you
   are not opining that, under the plain language of the Texas act, calculation of the franchise fee is based
   solely on the service address at which subscribers are located and not whether or how they ultimately
   view each and every piece of programming; correct? A. Again, I’m not offering any opinion on any legal
   interpretation, although I do fully expect that my testimony is going to advise such a decision by the Court.
   Q. Okay. But you’re not opining that. A. That’s correct.]
   57
        Malfara Report, ¶¶ 39-46.
   58
        Complaint, ¶ 2 (emphasis added); also ¶¶ 18, 33, and 39(e).

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   IX.        PLAINTIFF’S PROPOSED DAMAGES APPROACH DOES NOT ACCOUNT FOR VIDEO
              TRANSMISSION METHODS THAT DO NOT USE WIRELINE FACILITIES IN THE PUBLIC
              RIGHT-OF-WAY OR THAT RELY ON COMMERCIAL MOBILE SERVICE

   44.        An additional problem with Plaintiff’s proposal is that it does not address the potential
   for Netflix subscribers to stream video content using internet connections at their residential
   addresses or at any other locations using transmission methods that do not rely on wireline
   facilities in the public right-of-way. Plaintiff asserts that “the infrastructure of Internet service
   providers in municipalities in the State of Texas, including New Boston, are located at least in
   part in public rights-of-way and, without the use of such infrastructure, [Defendants] would be
   unable to deliver their video programming to their subscribers.”59 Plaintiff cites Mr. Malfara’s
   report in support of this claim. In deposition, however, Mr. Malfara testified that he did not
   agree with this proposition and identified specifically certain satellite and mobile services as
   examples of transmission methods that do not rely on wireline facilities in the public rights-of-
   way.60 Plaintiff’s claim—repudiated by its own expert—fails to address the fact that internet
   service can be provided through wireless technologies which may not use the public right-of-
   way, such as satellite and mobile, and therefore Netflix subscribers who reside in Texas
   municipalities can access video content without using wireline facilities in the Texas public
   right-of-way at all.61 Even to the extent that some of these technologies do use wireline
   facilities in public right-of-way, determining that fact would require individualized inquiries
   into the nature of the data transmission methods in each municipality.62

   45.        I understand further that “video service provided by a commercial mobile service
   provider” is excluded from the definition of “video service” in the Act.63 Plaintiff fails to
   address the fact that internet service can be provided through commercial mobile service and



   59
        Class Certification Motion, p. 3.
   60
        Malfara April 2021 Deposition, pp. 146-149.
   61
      Interview with Steven Turner; and Smith Declaration, ¶¶ 13-14. In his report, Mr. Malfara states that
   “it is impossible for Netflix’s and Hulu’s information streams to avoid public rights-of-way” while still
   being “conveyed over wireline facilities,” apparently recognizing the potential for Defendants’ content to
   be sent over wireless transmission technologies. [Malfara Report, ¶ 43 (emphasis added)]
   62
        Malfara April 2021 Deposition, pp. 146-149.
   63
        Tex. Util. Code § 66.002 (10).

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   that Netflix subscribers who reside in Texas municipalities can access video content through
   commercial mobile service.

           A. Satellite Internet Service

   46.     As described above, I understand that Plaintiff’s assertion that Netflix would be “unable
   to transmit video programming” without the use of wireline infrastructure is inaccurate with
   respect to at least some (if not all) users who obtain internet service from satellite providers,
   such as HughesNet. 64 Texas residents who use these satellite services to obtain their internet
   connections can become Netflix subscribers, just like any other resident, but they may not be
   using any wireline facilities in the local public right-of-way to obtain Netflix’s video content.

   47.     Plaintiff’s proposed damages method, however, does not account for the potential of
   Netflix users to stream video content through satellite internet connections. Plaintiff has
   proposed no method to identify Netflix subscribers with “service addresses” located in Texas
   municipalities who use satellite connections, nor any method to isolate Netflix’s subscription
   revenues from such customers.65 As Plaintiff’s method would rely solely on the “service
   address” of the Netflix subscribers, with no assessment of the type of internet connections used
   by the subscribers for their Netflix viewing, this method is inconsistent with Plaintiff’s
   allegations and would provide a windfall to members of the proposed class by overstating the
   amount of Netflix’s revenues associated with the transmission by ISPs of video content over
   wireline facilities in the public right-of-way.

   48.     These issues could be significant in any assessment of classwide damages, since
   satellite internet connections are common in Texas. According to survey data collected by the
   U.S. Census, approximately 790,000 Texas households have a satellite internet connection,
   representing about 10 percent of all Texas households with a broadband internet subscription.66
   Moreover, the frequency of satellite connections varies substantially across the state. For

   64
     See, for example, HughesNet website, www.hughesnetplans.com/satellite-internet/Texas. See also,
   Smith Declaration, ¶ 14.
   65
     Moreover, to the extent Netflix subscribers may use multiple transmission technologies, including
   satellite, Plaintiff has identified no method to allocate Netflix’s revenues from those subscribers across
   the different technologies.
   66
     U.S. Census 2019 American Community Survey, 5-Year Estimate: Table B28002, Presence and Types
   of Internet Subscriptions in Household (“ACS Internet Subscriber Data”).

                                                      21
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   example, in New Boston, 24 percent of households with a broadband internet subscription have
   a satellite internet connection, while the same figure is only 6 percent for the city of Dallas,
   Texas and over 48 percent for the city of Seven Points, Texas.67 In approximately 56 percent of
   all Census places in Texas with at least 100 households, more than 10 percent of households
   have a satellite internet connection (see Figure 2).68

                                               Figure 2
                 Frequency of Satellite Broadband Connections in Texas Census Places




   Source: ACS Internet Subscriber Data.
   Notes: Includes Texas Census places with at least 100 households. Frequency represents the ratio of
         households with a satellite broadband subscription to households with any broadband
         subscription.




   67
        ACS Internet Subscriber Data.
   68
        “Census places” include cities, towns, villages, and Census-designated places.

                                                        22
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              B. Mobile Internet Service

   49.        The existence of mobile (cellular) internet connections raises a similar, but more
   complicated concern with Plaintiff’s proposed damages method. Plaintiff claims that “the
   franchise fee is calculated the same under the Act regardless of whether Defendants’ video
   programming is viewed by New Boston residents . . . via mobile devices.”69 While Netflix
   members may stream video content through devices using a broadband connection such as a
   smart TV or personal computer, they also may stream content from the same Netflix accounts
   through mobile devices using cellular data networks. I understand that streaming content using
   a mobile service may not require wireline facilities in a municipality’s public right-of-way
   and/or may be excluded from the definition of “video service” if the content is provided “by a
   commercial mobile service provider.”70 This circumstance raises multiple problems for
   Plaintiff’s proposed damages method.

   50.        First, Plaintiff has proposed no method for identifying Texas residents who stream
   Netflix content exclusively over mobile networks nor any method to identify and exclude
   Netflix’s revenues associated with such subscribers. This issue could be significant in any
   assessment of classwide damages, since households whose only broadband internet connection
   is a mobile connection are even more common in Texas than those with satellite connections.
   Census data indicates that approximately 1.2 million Texas households have a cellular internet
   connection and no other broadband connection, representing about 16 percent of all Texas
   households with a broadband internet subscription.71 Moreover, the frequency of cellular
   connections as the only broadband connection varies substantially across the state. For
   example, in New Boston, 14 percent of households have cellular connections as the only
   broadband connection, while the same figure is only 4 percent for the city of Frisco, Texas and
   over 68 percent for the city of Hardin, Texas.72 Census data indicates that in approximately 46
   percent of all Census places in Texas with at least 100 households, more than 20 percent of


   69
        Class Certification Motion, p. 5.
   70
     Malfara April 2021 Deposition, pp. 146-149; Tex. Util. Code § 66.002 (10); and Smith Declaration, ¶
   14.
   71
        ACS Internet Subscriber Data.
   72
        ACS Internet Subscriber Data.

                                                     23
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   households have a cellular internet connection and no other broadband connection (see Figure
   3).

                                           Figure 3
         Frequency of Cellular Broadband Connections as Household’s Only Broadband
                               Connection in Texas Census Places




   Source: ACS Internet Subscriber Data.
   Notes: Includes Texas Census places with at least 100 households. Frequency represents the ratio of
         households with a cellular broadband subscription and no other broadband subscription to
         households with any broadband subscription.

   51.     Second, Plaintiff’s proposed damages method does not account for the fact that Netflix
   subscribers may use both types of internet connections and devices (mobile and wireline).73
   Plaintiff instead asserts that all that is required is a “service address” located within a Texas
   municipality, regardless of the extent to which a consumer actually uses wireline facilities to
   stream content to that address and regardless of whether the consumer uses both mobile and

   73
     Approximately 83 percent of Texas households with any broadband internet connection have a cellular
   subscription. [ACS Internet Subscriber Data]

                                                     24
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   wired connections. However, if the Court finds that revenues associated with content delivered
   over mobile networks is not subject to fees under the Act, Plaintiff’s proposed method does not
   address how to exclude that revenue, since Plaintiff has offered no method to allocate Netflix’s
   subscriber revenues according to the mix of mobile and wireline transmission methods used, let
   alone any method to identify the extent of any such mix.

   52.       Moreover, it is likely that the percentage of content that Netflix users watch over mobile
   networks varies by subscriber and by city. For example, T-Mobile, the third largest cellular
   provider (by number of subscribers) in the U.S. offers a program called “Binge On” which
   allows unlimited streaming of video content with no data charges, thereby removing one of the
   major barriers to video streaming over mobile networks.74 Figure 4 shows T-Mobile’s coverage
   maps for New Boston and Crowell, Texas. As shown here, New Boston has a mixture of 4G
   LTE and 5G coverage from T-Mobile, while the entirety of Crowell has “No coverage” from T-
   Mobile.75 This indicates that Netflix users who view content in New Boston are more likely to
   be using T-Mobile’s mobile network than are Netflix users who view content in Crowell.




   74
       Statista website, statista.com/statistics/199359/market-share-of-wireless-carriers-in-the-us-by-
   subscriptions; and T-Mobile website, www.t-mobile.com/offers/binge-on-streaming-video.
   75
        T-Mobile website, www.t-mobile.com/coverage/coverage-map.

                                                    25
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                                             Figure 4
                     T-Mobile Coverage Maps for New Boston and Crowell, Texas




   Source: T-Mobile website, www.t-mobile.com/coverage/coverage-map.


             C. Fixed Wireless Internet Service

   53.       I understand that Texas residents also can obtain internet connections from providers of
   fixed wireless service. Texas residents who use fixed wireless service to obtain their internet
   connections can become Netflix subscribers, just like any other resident, but they may not be
   using any wireline facilities in the local public right-of-way of the city of their physical address
   to obtain Netflix’s video content.76 I understand, in particular, that providers of fixed wireless
   service may have facilities in the rights-of-way of one municipality but deliver service to
   subscribers in other municipalities using wireless technology, without using any wireline
   facilities in the rights-of-way of the municipalities where the viewer is or resides. 77

   54.       Plaintiff’s proposed damages method, however, does not account for the potential of
   Netflix users to stream video content through these types of fixed wireless connections.
   Plaintiff has proposed no method to identify Netflix subscribers with “service addresses”
   located in Texas municipalities who use these types of fixed wireless connections, nor any


   76
        Smith Declaration, ¶ 14.
   77
     Mr. Malfara testified that fixed wireless may not use any wires or cables in the public right-of-way.
   [Malfara April 2021 Deposition, pp. 35-36]

                                                     26
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   method to isolate Netflix’s subscription revenues from such customers.78 As Plaintiff’s method
   would rely solely on the residential address of the Netflix subscribers, with no assessment of
   the type of internet connections used by the subscribers for their Netflix viewing, this method is
   inconsistent with Plaintiff’s allegations and would provide a windfall to members of the
   proposed class by overstating the amount of Netflix’s revenues associated with the transmission
   by ISPs of video content over wireline facilities in the public rights-of-way of those
   municipalities.

   55.       These issues could be significant in any assessment of classwide damages, as I
   understand there are 155 fixed wireless providers in Texas that offer service to more than 5.25
   million households in the state.79

   X.        PLAINTIFF’S PROPOSED DAMAGES APPROACH DOES NOT ACCOUNT FOR VIDEO
             TRANSMISSION METHODS THAT MAY BE EXEMPT FROM FRANCHISE FEES

   56.       Another problem with Plaintiff’s proposal is that it does not address whether or to what
   extent Netflix users stream video content using an ISP that may be exempt from franchise fees.
   For example, I understand that interactive, on-demand video programming provided by certain
   ISPs in rural areas of Texas may be exempt from franchise fees, and I understand that at least
   21 ISPs in Texas that offer service to at least 230 municipalities may qualify for this
   exemption.80 Plaintiff’s damages approach fails to address the fact that Netflix content may be
   delivered by these ISPs that are exempt from franchise fees or to determine the extent to which
   content in each Texas municipality is delivered by one of these ISPs.

   XI.       PLAINTIFF’S PROPOSED DAMAGES APPROACH BEARS NO RELATIONSHIP TO ANY
             COSTS TO THE MUNICIPALITIES ASSOCIATED WITH THE DELIVERY OF NETFLIX
             CONTENT

   57.       As noted by Plaintiff’s expert, Mr. Malfara, cable and other telecommunications
   providers, as well as utilities more generally, impose costs on municipalities and their residents



   78
     Moreover, to the extent Netflix subscribers may use multiple transmission technologies, Plaintiff has
   identified no method to allocate Netflix’s revenues from those subscribers across the different
   technologies.
   79
        Interview with Steven Turner.
   80
        Interview with Steven Turner.

                                                     27
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   when they physically enter the public right-of-way.81 Utilities may place wires, cables, or pipes
   underground through the public right-of-way or use telephone poles located in the public right-
   of-way in order to provide their services. These activities may generate costs to the
   municipality, particularly when the utilities first place their networks in the public right-of-way
   or when they conduct maintenance or expansion of those networks after the initial installation.

   58.       I understand that Netflix, in contrast, does not conduct any construction or maintenance
   activities in the public right-of-way of New Boston or of any other Texas municipality and does
   not install any physical equipment in any public rights-of-way in Texas.82 Rather, like most
   other vendors whose customers access their services through the internet, Netflix content is
   transmitted by ISPs on the ISPs’ pre-existing networks, which may include satellite, mobile,
   and fixed wireless networks as well as wireline networks.83 Unlike the services provided by
   telecommunications operators, the introduction of Netflix’s service to customers residing in a
   particular municipality, like New Boston, does not impose any cost on the municipality.84

   59.       Thus, Plaintiff’s proposed damages approach bears no relationship to any cost that the
   delivery of Netflix content by ISPs through wireline facilities in the public rights-of-way (to the
   extent that may occur) imposes on New Boston or other members of the proposed class.

   XII.      PLAINTIFF’S PROPOSED DAMAGES APPROACH DOES NOT ADDRESS THE COMPETING
             AND CONTRADICTORY INTERESTS OF THE MEMBERS OF THE PROPOSED CLASS

   60.       My analysis, above, illustrates how Plaintiff’s proposed damages model does not fit its
   theory of liability and, regardless, could not be implemented because data identifying each
   user’s physical address does not exist. Moreover, Plaintiff has identified no method to
   determine whether or to what extent the content that Netflix users stream in fact transits


   81
        Malfara Report, ¶¶ 39-42.
   82
     Smith Declaration, ¶ 6. As noted by Mr. Malfara, Netflix does not construct any of the broadband
   networks that may transmit Netflix’s video content to subscribers. [Malfara Report, ¶ 43]
   83
        Smith Declaration, ¶¶ 13-14.
   84
      See also, Lea Deposition, pp. 60-61. To the extent Plaintiff argues that Netflix imposes incremental
   burden or cost on municipalities—for example, because delivery of Netflix’s content by ISPs may
   incentivize the ISPs to expand those networks—that incremental burden would vary by jurisdiction, based
   on factors such as the extent to which other ISPs may deliver data through those wireline networks, the
   size and location of the existing wireline networks, the costs of expansion, and whether the particular city
   is collecting any fee related to that expansion from other providers.

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   wireline facilities in the public right-of-way in a particular city versus other locations, or is
   delivered using mobile service, as Plaintiff’s theory of liability as alleged in the Complaint
   requires. Nonetheless, even assuming Plaintiff’s damages approach fit its theory of liability and
   could be implemented, a further concern is that Plaintiff is proposing an approach that is not in
   the best interests of all Texas municipalities and creates conflicts among them.

   61.       A significant problem relates to the frequency of use of Netflix’s services by people
   located in each municipality who use accounts that are associated with subscribers with
   addresses in other municipalities. Viewers who fall into this category may include, for example,
   college students, tourists, patients of hospitals and care facilities, business travelers, other
   temporary residents and visitors, and residents of a municipality who view content using the
   account of a subscriber that resides in another municipality. Municipalities with higher
   percentages of such individuals would benefit from an allocation mechanism that assigned
   revenues to the actual location in which the video content is viewed, whereas municipalities
   with lower percentages of such individuals, like New Boston, would benefit from an allocation
   mechanism that assigned revenues to the location of the physical address (e.g., residential
   address) of the primary subscriber (assuming that could be determined), regardless of where the
   content actually is being streamed by the primary subscriber or other account users.

   62.       The issue of Netflix accounts being used to stream content in multiple municipalities is
   not merely hypothetical. Data maintained by Netflix shows that Netflix accounts often are used
   to stream content in multiple locations even within a single month. For example, in the four
   weeks leading up to January 15, 2020, “over 73.1% [of accounts associated with Texas billing
   zip codes] viewed Netflix content using IP addresses associated with more than one city, and
   over 80.6% viewed Netflix content using IP addresses associated with more than one postal zip
   code.”85 More recently, in the four weeks leading up to April 5, 2021, “over 69.9% [of accounts
   associated with Texas billing zip codes] viewed Netflix content using IP addresses associated
   with more than one city, and over 78.7% viewed Netflix content using IP addresses associated
   with more than one postal zip code.”86



   85
        Gorman Declaration, ¶ 4.
   86
        Gorman Declaration, ¶ 5.

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   63.     Below, I provide some case studies using specific Texas municipalities to further
   illustrate the potential conflicts that could arise depending on the mechanism for assigning
   Netflix’s revenue to the various members of the proposed class.

           A. Case Study #1 – College Students

   64.     Because Netflix accounts may be shared among members of a household, students who
   reside on or near their college campuses may stream Netflix content in municipalities that are
   not the same municipalities of the residential addresses of the subscribers (for example, the
   students’ parents).87 If revenues associated with those accounts are allocated entirely to the
   municipalities where the subscribers have their “service addresses,” as proposed by Plaintiff,
   then the municipalities in which the students stream content would receive nothing even though
   the municipalities’ public rights-of-way allegedly are being utilized. Those municipalities
   therefore would be undercompensated according to Plaintiff’s theory of liability as expressed in
   the Complaint. At the same time, any Texas municipalities in which the subscribers have their
   “service addresses” would be overcompensated according to the same standard.

   65.     Because colleges are not evenly distributed across Texas municipalities, there are large
   differences in the shares of the local populations that are transient or non-residential, and
   therefore may not be viewing Netflix content at the addresses of the subscribers.88 Figure 5
   shows the total dormitory capacity for the six largest Texas universities as a share of the local
   city population, plus New Boston. New Boston has a population of about 4,660 residents and
   has no residential colleges located within its city limits. 89 Campuses with dormitories in larger
   cities—like The University of Texas at Austin, The University of Texas at Arlington, and the
   University of Houston—have dormitory capacities representing between 0.3 and 2.3 percent of
   the municipal populations. In contrast, smaller college towns in Texas—like College Station

   87
     In addition to the multi-device nature of some Netflix subscriptions, many subscribers also share
   passwords with friends or family. [See, for example, KillTheCableBill.com website,
   www.killthecablebill.com/tv/stream/netflix/password-sharing-survey]
   88
     This issue is further complicated by the fact that the portion of Netflix content viewed by college
   students outside of the municipalities in which the primary subscribers reside or otherwise have “service
   addresses” would change throughout the year as students return home or travel for the summer or other
   breaks from school.
   89
     Lea Deposition, p. 19; and Census Reporter website, censusreporter.org/profiles/16000US4850808-
   new-boston-tx.

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   (~120,000 population, home to Texas A & M University), San Marcos (~65,000, Texas State
   University), Nacogdoches (~33,000, Stephen F. Austin State University), and Canyon
   (~16,000, West Texas A & M University) have dormitory capacities representing much larger
   shares—from 10 to 14 percent—of their permanent resident populations.

                                           Figure 5
     Dormitory Capacity as a Share of Permanent Resident Population for New Boston and
                             Texas Cities with Large Universities




   Sources: National Center for Education Statistics, U.S. Census: 2019 American Community Survey.

   66.    Based on this information, it is likely that, when compared to New Boston, a
   disproportionate amount of Netflix content that is delivered by ISPs over wireline facilities in
   the public right-of-way of College Station, San Marcos, Nacogdoches, and Canyon is for
   Netflix accounts associated with addresses in other municipalities. Thus, New Boston would
   benefit from an allocation of Netflix’s revenue based on the address of that subscriber, while
   College Station, San Marcos, Nacogdoches, and Canyon would benefit from an allocation
   based on the actual transmission of video content by ISPs through wireline facilities in their

                                                   31
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   public rights-of-way. Moreover, awarding damages to New Boston associated with viewing of
   Netflix content by students located in other municipalities would lead to overcompensation of
   New Boston and undercompensation of those other municipalities, according to the theory of
   liability expressed in the Complaint.

          B. Case Study #2 – Commuters

   67.    Because Netflix subscribers may stream content at locations other than their primary
   residences or addresses, subscribers who commute to work outside of their home municipalities
   may view content at locations that would not involve use of wireline facilities in the public
   rights-of-way of the municipalities where they reside or have a billing address, and instead
   could involve use of wireline facilities in the public rights-of-way of the municipalities where
   they work or through which they commute. Surveys have shown that a substantial number of
   people watch Netflix or other streaming services at work and in transit.90 If revenues associated
   with commuters’ accounts are allocated entirely to the municipalities where the subscribers
   reside or have billing addresses, as proposed by Plaintiff, then any Texas municipalities in
   which the subscribers work or commute through may be undercompensated for the use of
   “wireline facilities located at least in part in the public right-of-way,” while the municipalities
   in which the subscribers reside or have billing addresses would be overcompensated, according
   to Plaintiff’s theory of liability as expressed in the Complaint.

   68.    As in the case of colleges, work locations are not evenly distributed across Texas
   municipalities. Thus, there are large differences in the shares of the local populations that may
   be transient due to commuting. New Boston, for example, is not a business hub and likely has
   relatively few non-residents commuting for work into its boundaries. According to the U.S.


   90
      A survey performed for Netflix in 2017 found that 67 percent of Americans stream movies or
   television shows in public. Of those individuals, 40 percent had watched on a bus, 34 percent had
   watched in a car, 31 percent had watched on a train, and 37 percent had watched at work. [Niraj
   Chokshi, “Americans are Watching Netflix at Work and in the Bathroom,” The New York Times,
   November 17, 2017, nytimes.com/2017/11/17/business/media/watch-netflix-at-work.html; and Amanda
   Luz Henning Santiago, “37% of Netflix Subscribers Say They Binge-Watch at Work,” Business Insider,
   November 14, 2017, www.businessinsider.com/37-of-netflix-subscribers-watch-at-work-2017-11.]
   Another poll performed by Morning Consult and the Hollywood Reporter in 2018 found that 22 percent
   of adult TV watchers have watched TV at work. [Sam Sabin, “Most Young Adults Have an Appetite for
   Binge-Watching Shows,” Morning Consult, November 6, 2018, morningconsult.com/2018/11/06/most-
   young-adults-have-an-appetite-for-binge-watching-shows]

                                                    32
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   Census, the city was home to 155 firms that employed 1,863 people in 2017.91 The city’s
   “special industrial development corporation” website lists seven “major employers,” only three
   of which—a Walmart Supercenter, a Tractor Supply Co. store, and the City of New Boston
   itself—appear to be within the city limits.92 In contrast, the nearby city of Texarkana, Texas is
   “a regional center for employment, health care, and education,”93 home to 1,316 firms that
   employed 27,266 people in 2017.94 According to Texarkana’s website, “the medical,
   educational, and retail clusters contribute to Texarkana’s role as a regional center for commerce
   and industry,” and its “workforce is drawn from a 60-mile radius.”95 Large local employers
   include the CHRISTUS St. Michael Health System with 1,902 employees, the Texarkana
   Independent School District with 1,200 employees, and Ledwell & Sons Enterprises with 500
   employees.96 Texarkana is also a transportation hub serviced by three railroads, multiple state
   and interstate highways, and a regional airport.97 These facts indicate that employment, and
   therefore commuters, represent a larger percentage of the local population in Texarkana than in
   New Boston. In fact, many New Boston residents commute into Texarkana for work.98 Under
   Plaintiff’s proposed model, all the subscription revenue associated with the commuter
   population residing in New Boston (or having billing addresses in New Boston) would be
   allocated to New Boston, regardless of how much Netflix content those individuals streamed
   through wireline facilities in Texarkana’s public right-of-way.

   69.       The issue of commuters is even more relevant for larger metropolitan business hubs
   such as Irving, Texas. Irving is home to the headquarters of multiple Fortune 500 corporations,



   91
     U.S. Census 2017 Annual Business Survey: Table ABSCS2017, Statistics for Employer Firms by
   Industry, Sex, Ethnicity, Race, and Veteran Status for the U.S., States, Metro Areas, Counties, and
   Places: 2017 (“2017 Annual Business Survey”).
   92
        New Boston SIDC website, newbostonsidc.com/opportunities/major-employers.
   93
        City of Texarkana, Texas website, ci.texarkana.tx.us/255/Economic-Development.
   94
        2017 Annual Business Survey.
   95
        City of Texarkana, Texas website, ci.texarkana.tx.us/255/Economic-Development.
   96
        Texarkana Chamber of Commerce website, www.texarkana.org/major-employers.
   97
        City of Texarkana, Texas website, ci.texarkana.tx.us/255/Economic-Development.
   98
     According to the U.S. Census, in 2018, 317 New Boston residents commuted to work in Texarkana.
   [U.S. Census On The Map 2018 Inflow/Outflow Analysis]

                                                     33
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   including McKesson, Exxon Mobil, and Kimberly-Clark.99 Irving is “an international business
   hub in the heart of North Texas” home to over 8,500 businesses including the headquarters of
   twelve companies in the Fortune 1000.100 Irving attracts over 200,000 non-residents that
   commute into the city for their primary jobs.101 For this reason, Irving, like Texarkana, would
   benefit from a damages method that allocated Netflix revenues based on the actual location of
   viewed content, rather than one based on a fixed address associated with the subscribers, as
   proposed by New Boston.

   70.        Even many smaller cities that are not major business hubs have relatively more business
   activity within their boundaries than New Boston. For example, the city of Castle Hills, Texas
   (about 4,400 residents) is comparable in population to New Boston, but it hosts almost three
   times the total employment of New Boston.102 The city of Katy, Texas (about 20,200 residents),
   is the city with the most businesses per 100 people in Texas.103 The city of Canton, Texas
   (about 3,800 residents) is smaller in population than New Boston, but hosts more than twice the
   total employment of New Boston.104 In contrast, some cities have relatively fewer non-residents
   commuting into their boundaries than does New Boston. For example, the city of Bulverde,
   Texas (about 5,200 residents), a suburb of San Antonio, and the city of West University Place
   (about 15,600 residents), a suburb of Houston, both have more residents commuting out of their
   boundaries than non-residents commuting into their boundaries.105 Figure 6 shows the ratios of
   “net commuters” to resident population for New Boston, Bulverde, West University Place,
   Texarkana, Castle Hills, Canton, Irving, and Katy.106



   99
        Fortune website, fortune.com/fortune500/2021/search/?hqcity=Irving.
   100
         Irving Chamber of Commerce website, irvingchamber.com/economic-development.
   101
         U.S. Census: On The Map 2018 Inflow/Outflow Analysis.
   102
         2017 Annual Business Survey; 2019 American Community Survey.
   103
         Electric Choice website, electricchoice.com/blog/best-cities-texas-businesses/.
   104
         2017 Annual Business Survey; 2019 American Community Survey.
   105
      2017 Annual Business Survey; 2019 American Community Survey; U.S. Census: On The Map 2018
   Inflow/Outflow Analysis.
   106
      “Net commuters” for each city are calculated as the city’s commuter inflow (i.e., non-residents
   commuting into the city for their primary jobs) less the city’s commuter outflow (i.e., residents commuting
   outside the city for their primary jobs).

                                                         34
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                                           Figure 6
         Net Commuters as a Share of Permanent Resident Population for New Boston and
                                     Selected Texas Cities




   Sources: U.S. Census: On The Map 2018 Inflow/Outflow Analysis, 2019 American Community Survey.

   71.      Based on these data, to the extent that commuters view Netflix content while
   commuting to or at their workplaces, cities such as Texarkana, Castle Hills, Canton, Irving, and
   Katy (as well as other cities with larger ratios of net commuters to permanent residents) would
   stand to gain a larger share of damages under a model based on actual streaming activity using
   ISPs that may have wireline facilities in the public right-of-way, as opposed to the model
   proposed by Plaintiff, which would benefit Texas cities such as Bulverde and West University
   Place.

            C. Case Study #3 – Tourists

   72.      Netflix subscribers who travel to tourist destinations outside of their home
   municipalities may view content at locations that would not involve use of ISPs that may have

                                                    35
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   wireline facilities in the public rights-of-way of their home municipalities. If revenues
   associated with such users’ accounts are allocated entirely to the municipalities where the
   subscribers reside or have billing addresses, as proposed by Plaintiff, then any Texas
   municipalities to which the users travel may be undercompensated for the use of “wireline
   facilities located at least in part in the public right-of-way,” while the municipalities in which
   the subscribers reside or have billing addresses would be overcompensated, according to
   Plaintiff’s theory of liability as expressed in the Complaint.

   73.        As in the cases of colleges and work locations, tourist destinations are not evenly
   distributed across Texas municipalities. Thus, there are large differences in the shares of the
   local populations that may be transient due to tourism.107 New Boston is not a tourist
   destination and has only four hotels within its city limits.108 In contrast, Port Aransas, Texas has
   a comparable permanent population to New Boston (approximately 4,100 residents), but is a
   major tourist destination for its beaches, birding, fishing, golfing, and arts scene.109 In 2019, it
   was ranked by the Family Vacation Critic as one of the top ten best family beaches in the U.S.,
   and it is known as the “Fishing Capital of Texas,” hosting fishing tournaments nearly every
   weekend during the summer.110 The city also hosts “year-round festivals and events, including
   the annual BeachtoberFest, the Whooping Crane Festival and Texas SandFest.”111 Texas
   SandFest is the “largest native-sand sculpture competition in the USA” that draws “tens of
   thousands of visitors from around the world each year to Port Aransas.” 112 Some of those
   visitors stay at one of the 17 hotels and motels in the area, as well as at a selection of vacation
   home rentals, condo rentals, cottages, and RV parks.113 Thus, overnight visitors represent a
   larger percentage of the local population in Port Aransas than in New Boston.


   107
      Mr. Malfara testified that transient residents may cause a city’s population to fluctuate dramatically
   over the course of the year. [Malfara April 2021 Deposition, p. 241]
   108
         Google Hotels Search.
   109
         Port Aransas website, portaransas.org/play/things-to-do.
   110
         Port Aransas website, portaransas.org/play/things-to-do.
   111
         Port Aransas website, portaransas.org.
   112
      Texas SandFest 2020 Fact Sheet, available at www.texassandfest.org/wp-
   content/uploads/2020/02/2020_TexasSandFest_FactSheet.pdf.
   113
         U.S. Census, 2018 Annual Economic Survey; and Port Aransas website, portaransas.org/stay.

                                                        36
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   74.        Other tourist destinations in Texas also attract a significant number of overnight
   visitors. For example, South Padre Island, Texas, describes itself as “the ideal year-round
   destination for visitors seeking a getaway.”114 South Padre Island also hosts a significant
   number of seasonal residents during the winter: “Each year, visitors who are looking to
   exchange freezing temperatures and shoveling snow for endless sunshine, flock [to] South
   Padre Island, the only tropical island in Texas.”115

   75.        Marfa, Texas is a small city with only about 1,800 permanent residents which
   nevertheless attracts relatively more tourists than does New Boston and is home to at least six
   hotels.116 Tourists visit Marfa to “see the Marfa Lights, tour Marfa art galleries, and hike the
   many state and national parks in the Big Bend region.”117 Though not all visitors stay overnight
   in Marfa, Big Bend National Park alone attracted over 460,000 visitors in 2019.118 Fort
   Stockton, Texas, is a town of approximately 8,400 permanent residents home to 16 hotels with
   “more than 500 hotel rooms plus RV parks and campgrounds.”119 Each April, Fort Stockton
   hosts the Big Bend Open Road Race, which “brings in hundreds of people […] from all over
   the U.S. and Europe.”120 Figure 7 shows the number of hotels per 10,000 residents for New
   Boston, Port Aransas, South Padre Island, Fort Stockton, and Marfa.




   114
         South Padre Island website, sopadre.com/about/about-spi.
   115
         South Padre Island website, sopadre.com/experiences/winter-texans.
   116
         U.S. Census: 2018 Annual Economic Survey, 2019 American Community Survey.
   117
         Visit Marfa website, visitmarfa.com.
   118
         National Parked website, nationalparked.com/big-bend/visitation-statistics.
   119
      U.S. Census: 2018 Annual Economic Survey, 2019 American Community Survey; and Visit Fort
   Stockton, Texas website, visitfortstockton.com.
   120
         Big Bend Open Road Race website, bborr.com/pr.

                                                        37
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                                         Figure 7
     Hotels per 10,000 Permanent Residents for Zip Codes Primarily Associated with New
                             Boston and Selected Texas Cities




   Notes: Hotel figures are based on zip codes which may not coincide precisely with city boundaries.
   Sources: U.S. Census: 2018 Annual Economic Survey, 2019 American Community Survey.

   76.     Based on these data, to the extent that tourists view Netflix content while traveling
   outside their home municipalities, Port Aransas, South Padre Island, Fort Stockton, and Marfa
   (as well as other cities in Texas that attract substantial numbers of tourists) would stand to gain
   a larger share of damages under a model based on actual streaming activity using ISPs that may
   use wireline facilities in the public right-of-way, as opposed to the model proposed by Plaintiff,
   which would benefit New Boston.

           D. Case Study #4 – Overnight Business Travelers

   77.     Because Netflix users may stream content at locations other than their primary
   residences or billing addresses, those who travel for business outside of their home
   municipalities may view content at locations that would not involve the use of ISPs that may

                                                     38
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   have wireline facilities in the public rights-of-way of their home municipalities. If Netflix’s
   revenues associated with business travelers’ accounts are allocated entirely to the
   municipalities where the subscribers have a particular fixed physical address, as proposed by
   Plaintiff, then any Texas municipalities to which users of those accounts travel may be
   undercompensated for the use of wireline facilities in the public rights-of-way, while the
   municipalities in which the subscribers have a particular fixed physical address would be
   overcompensated, according to Plaintiff’s theory of liability as expressed in the Complaint.

   78.    As in the cases described above, locations that draw overnight business travelers are not
   evenly distributed across Texas. Thus, there are large differences in the shares of the local
   populations that may be transient due to this type of visitor. As I note in Case Study #2, New
   Boston is not a business hub and has only four hotels, and therefore likely has relatively few
   overnight business travelers within its boundaries at any given time. In contrast, Dallas hosts
   the headquarters of multiple Fortune 500 corporations and was rated as number five on the list
   of “Top 50 Meeting Destinations in the U.S.” by Cvent, a leading meetings and events
   technology provider,121 and in 2019 the city was listed as the sixth most popular business
   destination in the U.S. by American Express Global Business Travel. 122 Dallas’s Kay Bailey
   Hutchison Convention Center “is one of the largest convention centers in the nation,” and
   “every year it welcomes over a million visitors attending major national and international
   conventions, meetings, concerts, athletic competitions, auto shows, and more.”123 The facility is
   connected to a 1,001-room hotel, and in 2019, “meeting sales” accounted for over 1 million
   “room nights” booked at local hotels.124 These facts indicate that overnight business travelers
   likely represent a larger percentage of the local population in Dallas than in New Boston.


   121
      Fortune website, fortune.com/fortune500/2020/search/?hqcity=Dallas; and Cvent website,
   www.cvent.com/microsites/cvents-2019-top-meeting-destinations/cvents-top-50-meeting-destinations-
   in-the-us.
   122
     The Top Global Meetings Destinations: Where Business Travelers Will Head in 2019, American
   Express Global Business Travel, www.amexglobalbusinesstravel.com/mx/the-atlas/the-top-global-
   meeting-destinations-2019/.
   123
      Kay Bailey Hutchison Convention Center Dallas website, www.dallasconventioncenter.com/about-
   us/about-us.
   124
      Kay Bailey Hutchison Convention Center Dallas website, www.dallasconventioncenter.com/about-
   us/about-us; and Visit Dallas 2019 Annual Report, p. 8, available at
   visitdallas.imgix.net/Annual_Meeting/2019_Annual_Report.pdf.

                                                   39
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   79.       Texas’s two other most populous cities—Houston and San Antonio—also attract
   substantial business travel. Houston is home to more than 260,000 businesses, including the
   headquarters of Fortune 100 companies like Phillips 66, Sysco, and ConocoPhillips.125 Like
   Dallas, in 2019 Houston was ranked as a top 50 meeting destination in the U.S.126 Houston’s
   George R. Brown Convention Center is one of the ten largest convention centers in America at
   nearly 2 million square feet.127 In 2018, Houston booked 498 conventions and meetings to be
   held in 2019 and beyond, representing over 816,000 “room nights” at local hotels.128

   80.       San Antonio is home to more than 117,000 businesses, including the headquarters of
   Fortune 100 companies Valero Energy and USAA.129 San Antonio’s Henry B. Gonzalez
   Convention Center features 514,000 square feet of contiguous exhibit space and hosts “more
   than 300 events each year with over 750,000 convention delegates from around the world.”130
   In 2019, the convention center “booked well over 430,000 hotel room nights.”131

   81.       The scale of business activity in Dallas, Houston, and San Antonio relative to their
   resident populations indicates that, unlike New Boston, many people travel to these cities for
   business. To the extent that overnight business travelers view Netflix content while traveling,
   the cities of Dallas, Houston, and San Antonio (as well as other cities in Texas that host
   business travelers) each would stand to gain a larger share of damages under a model based on
   actual streaming activity over ISPs that may have wireline facilities in the public right-of-way,
   as opposed to the model proposed by Plaintiff, which would benefit cities like New Boston.



   125
     U.S. Census website, census.gov/quickfacts/fact/table/houstoncitytexas/PST045219; and Fortune
   website, fortune.com/fortune500/2020/search/?hqcity=Houston.
   126
      Cvent website, cvent.com/microsites/cvents-2019-top-meeting-destinations/cvents-top-50-meeting-
   destinations-in-the-us.
   127
         Houston First website, houstonfirst.com/venues.
   128
     Houston Chronicle website, houstonchronicle.com/business/bizfeed/article/Houston-books-record-
   number-of-future-13803831.php.
   129
     U.S. Census website, census.gov/quickfacts/fact/table/sanantoniocitytexas/PST045219; and Fortune
   website, fortune.com/fortune500/2020/search/?hqcity=San%20Antonio.
   130
     San Antonio Henry B. Gonzalez Convention Center website, sahbgcc.com/Facilities/Convention-
   Center.
   131
     San Antonio Business Journal website, bizjournals.com/sanantonio/news/2020/07/02/how-will-
   downtown-san-antonio-respond-to-pandemic.html.

                                                       40
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             E. Case Study #5 – Airports

   82.       Netflix subscribers may stream Netflix content while traveling in airports. Many
   airports include publicly accessible Wi-Fi that enables users to stream Netflix content.132 As
   evidence of this trend, in March 2021, CNN shut down its CNN Airport Network which aired
   in airport terminals, in part due to “the new ways that people are consuming content on their
   personal devices.”133

   83.       Netflix subscribers streaming Netflix content in airports outside their home
   municipalities may involve the use of wireline facilities in the public right-of-way outside their
   home municipalities. If revenues associated with such users’ accounts are allocated entirely to
   the municipalities where the subscribers reside or have billing addresses, as proposed by
   Plaintiff, then any Texas municipalities home to airports where subscribers stream Netflix
   content may be undercompensated for the use of “wireline facilities located at least in part in
   the public right-of-way,” while any Texas municipalities in which the subscribers reside or
   have billing addresses would be overcompensated, according to Plaintiff’s theory of liability as
   expressed in the Complaint.

   84.       Moreover, airports are located only in certain Texas municipalities. For example, there
   are no airports in New Boston.134 Instead, large airports tend to be located near cities such as
   Dallas, Houston, San Antonio, and Austin. Houston is home to multiple airports; in 2019
   George Bush Intercontinental Airport (airport code IAH) was the sixteenth busiest airport in
   North America serving more than 45 million passengers, including more than 10 million
   international passengers, while William P. Hobby Airport (HOU) served more than 14 million
   passengers.135 In 2019, Austin-Bergstrom International Airport (AUS) served more than 17




   132
      See, for example, the complimentary Wi-Fi available at Austin-Bergstrom International Airport.
   [Austin Texas website, austintexas.gov/faq/there-free-wi-fi-abia]
   133
      Steinberg, Brian, “CNN Grounds Its Long-Running Airport Network,” Variety, January 12, 2021,
   variety.com/2021/tv/news/cnn-airport-network-shuts-down-1234883879/.
   134
       Texas Department of Transportation website, txdot.gov/inside-txdot/division/aviation/airport-
   directory-list.html.
   135
         Fly2Houston website, fly2houston.com/newsroom/media-kit/fact-sheets.

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   million passengers.136 San Antonio International Airport (SAT) served more than 10 million
   passengers in 2019.137 The Dallas area is served by two major airports, though only one, Dallas
   Love Field (DAL), is located in the city of Dallas. In 2019, DAL served more than 16 million
   passengers.138 The second Dallas-area airport, Dallas Fort Worth (DFW), is located primarily in
   the city of Grapevine, Texas, a city of only about 55,000 residents.139 In 2019, DFW served
   over 75 million passengers, including over 9 million international passengers.140 Figure 8
   shows annual air travelers as a share of residents for New Boston and these selected cities. Note
   that Grapevine, Texas is not included on this chart because its figure of 1,127 annual air
   travelers per permanent resident is a significant outlier.




   136
      Austin Texas website,
   austintexas.gov/sites/default/files/images/Airport/news_releases/activity_report_year/2019/Dec%20201
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         Fly San Antonio website, flysanantonio.com/wp-content/uploads/2020/04/2019-DEC-Stats.pdf.
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      Dallas Love Field website, dallas-
   lovefield.com/home/showpublisheddocument/2046/637158873244170000.
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       I Love Grapevine Texas website, ilovegrapevinetexas.com/grapevine-business/dfw-international-
   airport; and U.S. Census website, census.gov/quickfacts/grapevinecitytexas.
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      DFW Airport website,
   assets.ctfassets.net/m2p70vmwc019/5crNz7NJjM7t9KgQzDdFI4/318dc5badcb7200c7ac2a7d7b6fe93b2
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                                          Figure 8
    Air Travelers in 2019 per Permanent Resident for New Boston and Other Selected Texas
                                           Cities




   Notes: Includes arrival and departure passengers. Limited to U.S. flights.
   Sources: Bureau of Transportation Statistics, U.S. Census QuickFacts.

   85.     To the extent that travelers view Netflix content while waiting at airports, the cities of
   Dallas, Austin, Houston, San Antonio, and Grapevine (as well as other cities in Texas with
   airports) each would stand to gain a larger share of damages under a model based on actual
   streaming activity over ISPs that may have wireline facilities in the public right-of-way, as
   opposed to the model proposed by Plaintiff, which would benefit cities like New Boston, which
   do not have an airport within their boundaries.




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   ____________________________

   Jesse David, Ph.D.
   June 21, 2021




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                               APPENDIX 1: MATERIALS CONSIDERED

   Case Documents
   Class Action Complaint, August 11, 2020
   Expert Report of David Simon, May 14, 2021 (attached as Exhibit 2 to Plaintiff City of New
       Boston, Texas’ Motion for Class Certification and Appointment of Class Representative
       and Class Counsel)
   Defendant Netflix, Inc.’s Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6), October 2,
       2020
   Plaintiff’s Response to Defendant Netflix, Inc.’s Motion to Dismiss Pursuant to Fed. R. Civ. P.
       12(b)(6), November 6, 2020
   Defendant Netflix Inc.’s Reply to Plaintiff’s Response to Netflix, Inc.’s Motion to Dismiss
       Pursuant to Fed. R. Civ. P. 12(b)(6), November 20, 2020
   Plaintiff’s Sur-Reply to Defendant Netflix, Inc.’s Motion to Dismiss Pursuant to Fed. R. Civ. P.
       12(b)(6), November 27, 2020
   Plaintiff’s First Set of Interrogatories to Netflix, Inc., March 19, 2021
   Defendant Netflix Inc.’s Response to Plaintiff’s First Set of Interrogatories, April 19, 2021
   Plaintiff’s Responses to Netflix’s First Set of Interrogatories, May 21, 2021
   Plaintiff City of New Boston, Texas’ Motion for Class Certification and Appointment of Class
       Representative and Class Counsel, May 14, 2021
   Expert Report of David J. Malfara, Sr., May 14, 2021 (attached as Exhibit 1 to Plaintiff City of
       New Boston, Texas’ Motion for Class Certification and Appointment of Class
       Representative and Class Counsel)
   Declaration of Chengyi Long in Support of Netflix, Inc.’s Opposition to Plaintiff’s Motion for
       Class Certification, May 31, 2021
   Declaration of Maria Mirkovski in Support of Netflix, Inc.’s Opposition to Plaintiff’s Motion
       for Class Certification, June 1, 2021
   Declaration of Bakari Middleton in Support of Netflix, Inc.’s Opposition to Plaintiff’s Motion
       for Class Certification, May 26, 2021
   Declaration of Zack Gorman in Support of Netflix, Inc.’s Opposition to Plaintiff’s Motion for
       Class Certification, June 4, 2021
   Declaration of Michael Smith in Support of Netflix, Inc.’s Opposition to Plaintiff’s Motion for
       Class Certification, June 2, 2021
   Deposition of David Malfara, Sr., April 29, 2021
   Deposition of David Malfara, Sr., June 8, 2021
   Deposition of David L. Simon, May 3, 2021 with Exhibits 1-7
   Deposition of Elizabeth Lea, June 11, 2021
   Deposition of Johnny Branson (Rough), June 12, 2021




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   Plaintiff City of Maple Heights, Ohio’s Responses to Defendant Netflix, Inc.’s First Set of
       Interrogatories, April 19, 2021, in City of Maple Heights, Ohio v. Netflix, Inc., and Hulu,
       LLC, case no. 1:20-CV-01872

   Bates Numbered Documents
   NB_Plaintiff_000001 – 223
   NETFLIX_NEW BOSTON_0000001 – 316
   NETFLIX_NEW BOSTON_0000317

   Publicly Available Materials and Websites
   Niraj Chokshi, “Americans are Watching Netflix at Work and in the Bathroom,” The New York
       Times, November 17, 2017, nytimes.com/2017/11/17/business/media/watch-netflix-at-
       work.html
   Sam Sabin, “Most Young Adults Have an Appetite for Binge-Watching Shows,” Morning
       Consult, November 6, 2018, morningconsult.com/2018/11/06/most-young-adults-have-an-
       appetite-for-binge-watching-shows
   Amanda Luz Henning Santiago, “37% of Netflix Subscribers Say They Binge-Watch at Work,”
       Business Insider, November 14, 2017, www.businessinsider.com/37-of-netflix-subscribers-
       watch-at-work-2017-11
   Brian Steinberg, “CNN Grounds Its Long-Running Airport Network,” Variety, January 12,
       2021, variety.com/2021/tv/news/cnn-airport-network-shuts-down-1234883879/
   Netflix 2020 Form 10-K, filed January 28, 2021
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   Big Bend Open Road Race website:
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       transtats.bts.gov/airports.asp?20=E&Nv42146=fNg&Nv42146_anzr=fn0
   Census Reporter website:
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       city-data.com/city/New-Boston-Texas.html
   City of Texarkana Texas website:
       ci.texarkana.tx.us/255/Economic-Development
   Cvent website:
       cvent.com/microsites/cvents-2019-top-meeting-destinations/cvents-top-50-meeting-
            destinations-in-the-us
   Dallas Love Field website:
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   DFW Airport website:
       assets.ctfassets.net/m2p70vmwc019/5crNz7NJjM7t9KgQzDdFI4/318dc5badcb7200c7ac2a
            7d7b6fe93b2/DFW_Stats_Total_Passengers_Dec_19.pdf
   Electric Choice website:
       electricchoice.com/blog/best-cities-texas-businesses/
   Google Hotel Search website:
       www.google.com/travel/hotels/New%20Boston?utm_campaign=sharing&utm_medium=lin
            k&utm_source=htls&ts=CAESCgoCCAMKAggDEAAafQpfEjMyJTB4ODYzNWIzNj
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            oJt0BAEUG3EcQ9nlfAEhIJcnwmYqC_QEARQfcI2VGYV8ASGhIUCgcI5Q8QBhgV
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            WARAAIgNVU0QqFgoHCOUPEAYYFRIHCOUPEAYYFhgBKACwAQBYAWgBc
            gQIAhgAmgEzEgpOZXcgQm9zdG9uGiUweDg2MzViMzY0NjcxMTIwYWI6MHg4Z
            mY5YmIyOTliZjIwN2M1ogEWCggvbS8wX3loYxIKTmV3IEJvc3RvbqoBBwoDCPA
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   Fly San Antonio website:
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   Fortune website:
       fortune.com/fortune500/2020/search/?hqcity=Dallas
       fortune.com/fortune500/2020/search/?hqcity=Houston
       fortune.com/fortune500/2021/search/?hqcity=Irving
       fortune.com/fortune500/2020/search/?hqcity=San%20Antonio
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   Houston First website:
       houstonfirst.com/venues
   HughesNet website:
       hughesnetplans.com/satellite-internet/Texas
   Hulu website:
       help.hulu.com/s/article/how-much-does-hulu-cost?language=en_US
   I Love Grapevine Texas website:
       ilovegrapevinetexas.com/grapevine-business/dfw-international-airport
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      newbostonsidc.com/opportunities/major-employers
   Port Aransas website:
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   San Antonio Business Journal website:
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   Statista website:


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   Texas Department of Transportation website:
      txdot.gov/inside-txdot/division/aviation/airport-directory-list.html
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   U.S. Census Bureau website:
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      census.gov/quickfacts/fact/table/houstoncitytexas/PST045219
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      unitedstateszipcodes.org
      unitedstateszipcodes.org/zip-code-database
   Visit Marfa website:
      visitmarfa.com
   Visit Fort Stockton, Texas website:
      visitfortstockton.com
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      zipdatamaps.com/78541
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   ZipMap website:
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   National Center for Education Statistics: Total Dormitory Capacity, available at National
      Center for Education Statistics website, nces.ed.gov/ipeds/datacenter/InstitutionList.aspx?
      goToReportId=1
   U.S. Census 2017 American Economic Survey: Table CB1800CBP, County Business Patterns,
      including ZIP Code Business Patterns, by Legal Form of Organization and Employment

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      available at U.S. Census website,
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      4,4802913276,4803750808,4803772368,4846712496&n=00&tid=ABSCS2017.AB1700CS
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   U.S. Census 2019 American Community Survey, 5-Year Estimate: Table B28002, Presence
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   U.S. Census 2019 American Community Survey, 5-Year Estimate: Table DP05, ACS
      Demographic and Housing Estimates, available at U.S. Census website,
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                 APPENDIX 2: CURRICULUM VITAE OF JESSE DAVID, PH.D.




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                                             Jesse David, Ph.D.

   Jesse David is President of Edgeworth Economics and head of Edgeworth’s Los Angeles office. Dr. David
   is an expert on the valuation of intangible assets, market definition, and the assessment of economic
   impacts in complex commercial disputes and regulatory proceedings. His experience spans intellectual
   property, antitrust, labor, regulatory, and class certification matters, among other economic issues related
   to the intersection of business and government.

   Dr. David has provided economic consulting and expert testimony for many industries, including
   pharmaceuticals, telecommunications, agricultural products, finance, petroleum products, chemicals,
   software, and consumer products. He frequently submits expert reports to and testifies before decision-
   making bodies, including U.S. federal and state courts, the Federal Energy Regulatory Commission, the
   National Energy Board of Canada, and various arbitration venues.

   Dr. David’s consulting practice also includes developing cost-benefit analyses of government regulations
   and assessing the economic impacts of government policies and other changes in industry structure. Dr.
   David has prepared studies for entities such as the American Trucking Associations, the National Football
   League Players Association, the San Diego County Water Authority, the New York Power Authority, and
   the Ocean Conservancy.


                                                 EDUCATION
   Stanford University
   Ph.D., Economics, 2000
   Brandeis University
   B.A., magna cum laude, Economics and Physics, 1991


                                                EMPLOYMENT
   Edgeworth Economics, LLC, Washington, D.C.
   2019 - 2020, President
   2012 - 2018 and 2021 - present, Partner
   2009 - 2012, Senior Vice President
   Criterion Economics, LLC, Washington, D.C.
   2009, Senior Vice President
   National Economic Research Associates, Inc., White Plains, NY
   2004 - 2009 Vice President
   2000 - 2004 Senior Consultant
   1997 - 1999 Senior Analyst
   Stanford University, Palo Alto, CA
   1993 - 1995 Research Assistant/Teaching Assistant


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                                     TESTIMONY AND EXPERT REPORTS
   City of Maple Heights, Ohio v. Netflix, Inc. and Hulu, LLC, U.S. District Court for the Northern District
       of Ohio; expert report, May 17, 2021; deposition, May 28, 2021
   Jeff Olberg, et al. v. Allstate Insurance Company, et al., U.S. District Court for the Western District of
        Washington; declaration and expert report, May 7, 2021
   Stephanie Wedra v. Cree, Inc., U.S. District Court for the Southern District of New York; expert report,
       April 30, 2021; deposition, May 26, 2021
   Rigo Amavizca v. Nutra Manufacturing, LLC, U.S. District Court for the Central District of California;
      expert report, April 12, 2021; deposition, April 21, 2021
   Lashawn Sharpe, et al. v. A&W Concentrate Company and Keurig Dr Pepper Inc., U.S. District Court
      for the Eastern District of New York; expert report, April 7, 2021; deposition, May 19, 2021
   Daniel Zeiger v. WellPet LLC, U.S. District Court for the Northern District of California, San Francisco
      Division; expert report, September 14, 2020; deposition, October 16, 2020
   Silvergate Pharmaceuticals, Inc. v. Amneal Pharmaceuticals LLC, U.S. District Court for the District of
       Delaware; expert report, August 21, 2020; deposition, November 16, 2020; trial testimony, February
       4, 2021
   Cameron Lundquist and Leeana Lara v. First National Insurance Company of America, et al., U.S.
      District Court for the Western District of Washington; expert report, July 27, 2020; deposition, August
      25, 2020
   Winn-Dixie Stores, Inc. and BI-LO Holdings, LLC v. Eastern Mushroom Marketing Cooperative, Inc., et
      al., U.S. District Court for the Eastern District of Pennsylvania; expert report, July 23, 2020;
      deposition, August 19, 2020; declaration, August 30, 2020
   Elizabeth E. Belin, et al. v. Health Insurance Innovations, Inc., et al., U.S. District Court for the Southern
       District of Florida, Ft. Lauderdale Division; expert report, May 15, 2020; deposition, May 29, 2020
   Kathleen Smith v. Keurig Green Mountain, Inc., U.S. District Court for the Northern District of California;
      declaration, January 31, 2020
   XY, LLC v. Trans Ova Genetics, LC, U.S. District Court for the District of Colorado; declaration,
      December 3, 2019
   H&H Wholesale Services, Inc., et al. v. Kamstra International, B.V. d/b/a Holland Trading Group, U.S.
     District Court for the Eastern District of Michigan, Southern Division – Detroit; preliminary expert
     report, July 31, 2019
   Jeff Young v. Cree, Inc., U.S. District Court for the Northern District of California, San Francisco
       Division; expert report, March 22, 2019; deposition, April 17, 2019
   Sylvia Leyva v. NFI Industries Inc., Superior Court of the State of California for the County of San
       Bernardino, Central District; deposition, February 15, 2019
   Amphastar Pharmaceuticals, Inc. and International Medication Systems, Ltd. v. Momenta
      Pharmaceuticals, Inc. and Sandoz, Inc., U.S. District Court for the District of Massachusetts; expert
      reports, December 21, 2018, February 15, 2019, and March 15, 2019; deposition, April 4, 2019
   Entrata, Inc. v. Yardi Systems, Inc., U.S. District Court for the District of Utah, Central Division.; expert
       reports, December 7, 2018 and February 8, 2019; deposition, February 20, 2019




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   POET, LLC, et al. v. Nelson Engineering, Inc., et al., U.S. District Court for the District 11.65of South
      Dakota, Southern Division; expert reports, September 28, 2018 and November 28, 2018; declaration,
      March 22, 2019; deposition, January 8, 2019
   Evert Fresh, Inc. v. Housewares America, Inc., U.S. District Court for the District of New Jersey; expert
      reports, June 4, 2018 and July 17, 2018
   Rosa Alvarez v. NBTY, Inc. and Nature’s Bounty, Inc., U.S. District Court for the Southern District of
      California; expert report, June 1, 2018; deposition, September 4, 2018
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       California; expert reports, May 7, 2018, June 5, 2018, and October 30, 2019; deposition, July 27,
       2018
   XY, LLC, Beckman Coulter, Inc. and Inguran, LLC d/b/a STgenetics v. Trans Ova Genetics, LC, U.S.
       District Court for the District of Colorado; expert report, April 13, 2018; deposition, June 6, 2018
   Sandra Bond v. Berkshire Bank and Berkshire Hills Bancorp, U.S. District Court for the District of
      Massachusetts; expert report, November 21, 2017; deposition, January 16, 2018; affidavit, August 13,
      2018
   DSM IP Assets, B.V. and DSM Bio-Based Products & Services, B.V. v. Lallemand Specialties, Inc. and
     Mascoma LLC, U.S. District Court for the Western District of Wisconsin; expert report, November
     21, 2017; deposition, December 14, 2017; trial testimony, May 11 and 14, 2018; declaration, June 20,
     2018
   Abbott Laboratories, et al. v. Adelphia Supply USA, et al., U.S. District Court for the Eastern District of
      New York; expert reports, November 15, 2017 and January 29, 2018; deposition, February 13, 2018
   Before an Interest Arbitration Board between the Northeast Illinois Regional Commuter Railroad
       Corporation and the Brotherhood of Railroad Signalmen, National Mediation Board; expert report,
       October 20, 2017; arbitration testimony, November 8, 2017
   American Helios Constructors, LLC v. Shoals Technology Group, American Arbitration Association;
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      report, July 21, 2017
   United Energy Trading, LLC. v. Pacific Gas and Electric Company, et al., U.S. District Court for the
      Northern District of California, San Francisco Division; expert report, May 19, 2017; deposition,
      September 28, 2017
   Staci Chester, et al. v. TJX Companies, Inc., et al., U.S. District Court for the Central District of California,
       Eastern Division; declaration, April 17, 2017
   Stanley Johnson v. Time Warner Cable, et al., U.S. District Court for the District of South Carolina,
       Columbia Division; declaration, March 24, 2017
   Momenta Pharmaceuticals, Inc. and Sandoz Inc. v. Amphastar Pharmaceuticals, Inc., et al., U.S. District
     Court for the District of Massachusetts; expert report, February 16, 2017; deposition, March 28, 2017;
     trial testimony, July 18, 2017; declaration, March 20, 2018
   Chad Herron, et al. v. Best Buy Stores, LP, U.S. District Court for the Eastern District of California;
      declaration, August 18, 2016; deposition, August 25, 2016
   In Re: AZEK Decking Sales Practices Litigation, U.S. District Court for the District of New Jersey;
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   Boston Cab Dispatch, Inc. and EJT Management, Inc. v. Uber Technologies, Inc., U.S. District Court for
      the District of Massachusetts; expert report, May 20, 2016
   In Re: Nest Labs Litigation, U.S. District Court for the Northern District of California; declaration, April
       15, 2016; deposition, May 10, 2016
   The Bakery, LLC, et al. v. Kenneth Pritt and Woodford Transportation, LLC, et al., Circuit Court of
      Greenbrier County, West Virginia; expert reports, March 21, 2016 and May 27, 2016
   In Re: Scotts EZ Seed Litigation, U.S. District Court for the Southern District of New York; expert report,
       March 11, 2016; deposition, April 20, 2016
   Digital Recognition Network, Inc. v. Accurate Adjustments, Inc., et al., U.S. District Court for the
      Northern District of Texas, Fort Worth Division; expert reports, January 22, 2016 and February 22,
      2016; deposition, February 25, 2016
   American Helios Contractors, LLC v. Bradley Kogan, Precision Renewables, LLC, and 3TAC, LLC,
      District Court for Clark County Nevada; expert report, November 13, 2015
   Christopher Lewert v. Boiron, Inc. and Boiron USA, Inc., U.S. District Court for the Central District of
      California; expert report, October 1, 2015; deposition, April 14, 2016
   Wreal, LLC v. Amazon.com, Inc., U.S. District Court for the Southern District of Florida, Miami Division;
      expert report, September 10, 2015; deposition, September 28, 2015
   Novadaq Technologies Inc. v. Karl Storz Endoscopy-America, Inc. and Karl Storz GmbH & Co. KG, U.S.
      District Court for the Northern District of California, San Jose Division; expert report, July 28, 2015;
      declaration, November 10, 2015
   Globus Medical, Inc. v. DePuy Synthes Products, LLC and DePuy Synthes Sales, Inc., U.S. District Court
      for the District of Delaware; expert reports, July 22, 2015 and October 14, 2015; deposition,
      November 6, 2015
   Broadband iTV, Inc. v. Hawaiian Telcom, Inc., et al., U.S. District Court for the District of Hawaii; expert
      reports, June 30, 2015 and July 28, 2015; declaration, July 10, 2015; deposition, July 29, 2015
   Greater Houston Transportation Company, et al. v. Uber Technologies, Inc. and Lyft Inc., U.S. District
      Court for the Southern District of Texas, Houston Division; expert reports, June 29, 2015 and
      November 19, 2015; declaration, August 27, 2015; deposition, January 8, 2016
   Crystal Good, et al. v. American Water Works Company, Inc., et al., U.S. District Court for the Southern
      District of West Virginia; expert report, May 22, 2015; deposition, June 12, 2015
   In Re: Processed Egg Products Antitrust Litigation, U.S. District Court for the Eastern District of
       Pennsylvania; expert report, March 13, 2015; deposition, May 5, 2015; affidavit, September 8, 2015;
       hearing testimony, December 16, 2015; trial testimony, May 29, 2018 and December 4, 2019
   Santarus, Inc. and The Curators of the University of Missouri v. Par Pharmaceutical, Inc., U.S. District
      Court for the District of Delaware; expert report, April 21, 2014; deposition, June 12, 2014
   Mylan Technologies, Inc. formerly known as Bertek, Inc., and Mylan, Inc. v. Zydus Noveltech, Inc., Sharad
      K. Govil, Cadila Healthcare Ltd., also known as Zydus Cadila, Pankaj Patel, and Sunil Roy, Vermont
      Superior Court, Chittenden Civil Division; expert report, October 2, 2013; deposition, November 19,
      2013
   Alcon Pharmaceuticals Ltd. and Alcon Research, Ltd. v. Lupin Ltd. and Lupin Pharmaceuticals, Inc.,
       U.S. District Court for the District of Delaware; expert report, June 28, 2013; deposition, July 24,
       2013


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   Warner Chilcott Company, LLC v. Lupin Ltd. and Lupin Pharmaceuticals, Inc., and Warner Chilcott
      Company, LLC v. Watson Laboratories, Inc., U.S. District Court for the District of New Jersey; expert
      report, June 12, 2013; deposition, July 11, 2013; trial testimony, October 8, 2013
   In Re: Mushroom Direct Purchaser Antitrust Litigation, U.S. District Court for the Eastern District of
       Pennsylvania; expert report, May 15, 2013; deposition, October 25, 2013; hearing testimony, March
       24-25, 2015
   Lisy Corp. v. Barry A. Adams, McCormick & Company, Inc. and Mojave Foods Corporation, Circuit
       Court for Howard County, Maryland; deposition, May 23, 2012; trial testimony, April 26, 2013
   Dey, L.P. and Dey, Inc. v. Teva Parenteral Medicines, Inc., et al., U.S. District Court for the Northern
      District of West Virginia; expert report, January 13, 2012; deposition, February 7, 2012; trial
      testimony, August 2, 2013
   Dow Corning Corporation and Hemlock Semiconductor Corporation v. Jie (George) Xiao, LXEng LLC,
      and LXE Solar, Inc., U.S. District Court for the Eastern District of Michigan, Northern Division;
      declaration, January 9, 2012; expert report, March 1, 2012
   Riverplace Development, LLC v. Charles Cranford, Esquire and Rogers Towers, P.A., Circuit Court,
       Fourth Judicial Circuit, in and for Duval County, Florida; depositions, October 12, 2011 and
       December 21, 2011
   Pfizer, Inc., et al. v. Teva Pharmaceuticals USA, Inc. and Teva Pharmaceuticals Industries, Ltd., U.S.
       District Court for the District of Delaware; expert report, June 3, 2011; deposition, July 22, 2011
   Ramona Trombley, et al. v. National City Bank, U.S. District Court for the District of California; expert
      report, May 27, 2011; declaration, August 29, 2011
   Rocky Mountain Farmers Union, et al. v. James N. Goldstene, U.S. District Court for the Eastern District
      of California; declarations, October 29, 2010 and March 14, 2011
   Investment Technology Group, Inc., et al. v. Liquidnet Holdings, Inc., U.S. District Court for the Southern
       District of New York; expert report, April 12, 2010; deposition, June 2, 2010
   AOB Properties, Ltd. v. Laserspine Institute, LLC, et al., U.S. District Court for the Middle District of
      Florida, Tampa Division; expert report, December 11, 2009
   Glaxo Group Ltd. and SmithKlineBeecham Corporation v. Teva Pharmaceuticals USA, Inc., U.S. District
      Court for the District of Delaware; expert reports, October 15, 2009 and November 3, 2009;
      declaration, April 9, 2010; deposition, November 3, 2009
   Tyco Healthcare Group LP and Mallinckrodt Inc. v. Pharmaceutical Holdings Corporation, Mutual
      Pharmaceutical Company, Inc. and United Research Laboratories, Inc., U.S. District Court for the
      District of New Jersey; declaration, July 22, 2009; deposition, July 23, 2009; hearing testimony, July
      29, 2009
   ESCO Corporation v. Bradken Resources Pty Ltd, International Chamber of Commerce, International
      Court of Arbitration; expert reports, June 15, 2009 and December 21, 2009; arbitration testimony,
      January 29, 2010
   Schering Corporation and MSP Singapore Company LLC v. Glenmark Pharmaceuticals Inc., USA and
      Glenmark Pharmaceuticals Ltd., U.S. District Court for the District of New Jersey; expert report,
      May 8, 2009; deposition, June 18, 2009
   Eli Lilly and Company v. Sicor Pharmaceuticals, Inc. and Teva Pharmaceuticals USA, Inc., U.S. District
       Court for the Southern District of Indiana; expert report, February 24, 2009; deposition, March 20,
       2009


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   Tobacco Technology, Inc. v. Taiga International N.V., Thomas J. Massetti, and Marie-Paul Voûte, U.S.
      District Court for the District of Maryland; expert report, August 21, 2008; deposition, November 25,
      2008
   Dow Jones & Company, Inc. v. Ablaise Ltd. and General Inventions Institute A, Inc., U.S. District Court
      for the District of Columbia; expert report, August 20, 2008
   Aspex Eyewear, Inc. and Contour Optik, Inc. v. Clariti Eyewear, Inc., U.S. District Court for the Southern
      District of New York; expert report, June 20, 2008
   Boldstar Technical, LLC and Michael S. Powell v. The Home Depot, Inc. and Industriaplex, Inc., U.S.
      District Court for the Southern District of Florida, Fort Lauderdale Division; expert reports, April 25,
      2008 and May 30, 2008; deposition, August 29, 2008; trial testimony, February 10-11, 2010
   Novartis Pharmaceuticals Corporation, Novartis Corporation, and Novartis International AG v. Mylan
      Pharmaceuticals, Inc. and Mylan Laboratories, Inc., U.S. District Court for the District of New
      Jersey; expert report, March 26, 2008; declaration, October 1, 2008; deposition, October 9, 2008
   Gary W. Ogg and Janice Ogg v. Mediacom LLC, Circuit Court of Clay County, Missouri in Liberty;
      expert reports, March 5, 2008 and April 3, 2008; deposition, April 4, 2008; trial testimony, March 13
      and 17, 2009
   Source Search Technologies, LLC v. LendingTree, LLC, et al., U.S. District Court for the District of New
      Jersey; expert report, May 1, 2007; deposition, June 21, 2007
   Federal Insurance Company v. InterDigital Communications Corporation, et al., JAMS arbitration;
      deposition, February 27, 2007; arbitration testimony, May 16, 2007
   Student Lifeline, Inc. v. The Senate of the State of New York, et al., U.S. District Court for the Eastern
       District of New York; expert report, January 29, 2007; deposition, July 26, 2007
   Pediatrix Screening, Inc. et al v. Telechem International, Inc., U.S. District Court for the Western District
      of Pennsylvania; expert reports, December 15, 2006, February 16, 2007, and July 6, 2007; deposition,
      March 28, 2007; trial testimony, July 18-19, 2007
   Green Mountain Chrysler-Plymouth-Dodge-Jeep, et al. v. Torti, U.S. District Court for the District of
      Vermont; expert reports, October 9, 2006 and January 17, 2007
   The Procter & Gamble Company v. Teva Pharmaceuticals USA, Inc., U.S. District Court for the District
      of Delaware; expert report, August 31, 2006; deposition, October 13, 2006; trial testimony, November
      6, 2006
   Central Valley Chrysler Jeep, Inc. et al. v. Witherspoon, U.S. District Court for the Eastern District of
      California; expert reports, June 12, 2006, October 9, 2006, and January 16, 2007; deposition, October
      27, 2006
   Sierra Club et al. v. Robert B. Flowers, et al., U.S. District Court for the Southern District of Florida,
       Miami Division; depositions, June 6, 2006 and June 20, 2006; hearing testimony, October 5, 2006;
       declaration in support of appeal, U.S. Court of Appeals for the Eleventh Circuit, July 27, 2007
   Merck & Co., Inc. v. Teva Pharmaceuticals USA, Inc., U.S. District Court for the District of Delaware;
      expert report, April 6, 2006; deposition, August 8, 2006
   Alliance Security Products, Inc. v. Fleming and Company, Pharmaceuticals, U.S. District Court for the
       Southern District of New York; expert report, March 30, 2006; deposition, May 17, 2006
   Re Colonial Pipeline Company, Federal Energy Regulatory Commission; declaration, February 28, 2006




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   Tesoro Canada Supply & Distribution Ltd. in Hearing Order MH-2-2005 Regarding an Application for
      Priority Destination from Chevron Canada Limited, et al., National Energy Board of Canada; direct
      testimony, January 18, 2006
   McKesson Information Solutions, LLC v. The TriZetto Group, Inc., U.S. District Court for the District of
      Delaware; expert report, November 17, 2005; deposition, November 30, 2005
   Touch-n-Buy, Inc. v. Radiant Telecom, Inc., et al., U.S. District Court for the Southern District of Florida;
      expert report, November 9, 2005; deposition, February 8, 2006
   Jamaica Recycling Corp., et al. v. The City of New York, et al., Supreme Court of the State of New York,
      County of New York; affidavit, August 18, 2005
   Amerisource Corporation v. RX USA International, Inc., et al., U.S. District Court for the Eastern District
      of New York; expert report, August 15, 2005; deposition, June 5, 2006
   Ruth S. King v. McNeil Nutritionals LLC and McNeil PPC-Inc., Supreme Court of the State of New York,
      County of New York; declaration, August 3, 2005; deposition, September 26, 2005; also in Rochelle
      Suchoff, et al. v. McNeil Nutritionals LLC and McNeil PPC-Inc., Superior Court of New Jersey, Law
      Division, Essex County; Jason Gregory Turner v. McNeil Nutritionals LLC and McNeil PPC-Inc.,
      Superior Court of the State of California for the County of Los Angeles; Harry Clendenan v. McNeil
      Nutritionals LLC and McNeil PPC-Inc., Circuit Court of Kanawha County, West Virginia; Elizabeth
      Leser v. McNeil Nutritionals LLC and McNeil PPC-Inc., Court of Common Pleas, Erie County,
      Texas; Bobby Allen Green v. McNeil Nutritionals, LLC, Judicial Court, Fourth Judicial Circuit in and
      for Duval County, Florida, Division CV-A; and Jacqueline Burrows, et al. v. McNeil Nutritionals
      LLC and McNeil PPC-Inc., Superior Court of Massachusetts, Middlesex County
   Braun GmbH v. Rayovac Corporation, U.S. District Court for District of Massachusetts; expert reports,
      May 23, 2005 and June 27, 2005; deposition, September 8, 2005
   PediaMed Pharmaceuticals, Inc. v. Breckenridge Pharmaceutical, Inc. and Scientific Laboratories, Inc.,
      U.S. District Court for the District of Maryland, Southern Division; expert report, October 1, 2004
   Forrest W. Garvin and E-Netec, Corp. v. McGuireWoods, LLP, et al., General Court of Justice, Superior
      Court Division for the State of North Carolina, Mecklenburg County; deposition, July 27, 2004
   ResQNet.com, Inc. v. LANSA, Inc., U.S. District Court for the Southern District of New York; expert
      reports, July 14, 2004 and January 25, 2007; depositions, August 9, 2004 and May 6, 2011; trial
      testimony, May 21, 2007 and June 7, 2011
   Allocco Recycling, Ltd. v. John Doherty, U.S. District Court for the Southern District of New York; expert
       report, February 4, 2004; deposition, December 9, 2004; declaration, December 2, 2005
   Pinnacle Systems, Inc. v. XOS Technologies, Inc., et al., U.S. District Court for the Northern District of
      California expert report, November 7, 2003; deposition, January 15, 2004; trial testimony, February
      11, 2004
   Sinclair Oil Corporation v. BP Pipelines (North America), Inc., Federal Energy Regulatory Commission;
       direct testimony, September 18, 2003; rebuttal testimony, March 16, 2004.


                            SELECTED CONSULTING PROJECTS AND REPORTS
   The Impact of EPA’s Policies Regarding RVOs and SREs – white paper submitted as comment on EPA
      rulemaking; analysis of EPA’s policies with respect to the RFS and the impact of those policies on
      biofuel production and consumption



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   Economic Issues Associated with a Change in the RFS Point of Obligation – analysis of proposals put
      forward by various petitioners to change the point of obligation for the RFS regulation from
      refiners/importers to blenders
   Calculation of potential exposure related to class action claims for false labeling of retail food product –
       analysis of retail scanner data and wholesale transaction databases to determine potential price
       premiums associated with label claims and calculate potential damages related to allegedly false
       claims
   Calculation of potential exposure related class action claims for unpaid wages – analysis of card-swipe,
       payroll, and scheduling data for a public utility to assess potential damages in a class action claim
   Analysis of EPA’s Proposal for a Reduction in the RFS Volume Requirements for 2014 – analysis of
      EPA’s proposal to adjust the volumetric requirements under the RFS
   Economic Impacts of the RFS Program: An Analysis of the NERA Report Submitted to the EPA – analysis
      of the findings of NERA and CRA regarding economic impacts of waiving the Clean Air Act
      requirement for ethanol blending in gasoline
   Calculation of potential exposure related class action claims for payroll violations – analysis of login,
       payroll, and expense report data for financial services firm to assess potential damages in a class
       action claim
   The Impact of a Waiver of the RFS Mandate on Food/Feed Prices and the Ethanol Industry – analysis of
      the impacts of waiving the Clean Air Act requirement for ethanol blending in gasoline on animal feed
      prices, household expenditures on food, and the ethanol industry
   Analysis of generic pharmaceutical company’s exposure for a potential at-risk launch – financial analysis
      of the potential damages against a pharmaceutical company for launching a generic product before
      patent expiration
   Analysis of coal supply contract escalator – report on the expected escalation in various cost indices used
      to determine the pricing of coal in a contract between a mining company and an electric utility
   Review of PHMSA’s Regulatory Analysis for the External Piping Requirement – analysis of cost-benefit
       for a proposed regulation on external loading pipes for hazardous materials tankers
   The Economic Impact of a Potential NFL Lockout in 2011 – analysis for the National Football Players
      Association of the impact of a loss of professional football games to the local economies of host cities
   Review of FMCSA’s Regulatory Impact Analysis for the 2010-2011 Hours of Service Rule – cost-benefit
       study for the American Trucking Associations on the proposed change in regulations of hours of
       service for long-haul truckers; testified before Congressional Sub-Committee
   Consulting for an electric power cooperative on class certification in a claim for trespass damages –
      analyzed factors involved in hypothetical negotiations between landowners and a transmission line
      operator related to value of an easement for telecommunications use
   A Cost-Benefit Analysis of Gear Replacement for Gulf Shrimp Fishermen – analysis prepared for the
      Ocean Conservancy on the costs and benefits associated with industry-wide changes in equipment
      used by shrimp fisherman in the Gulf of Mexico
   Analysis of the impacts on competition of a merger in the solid-waste collection industry – prepared
      databases for turnover to the U.S. Department of Justice in response to a Second Request; prepared
      economic and statistical analyses of transaction data to address questions of competitive impact of
      consolidation
   A Review of FMCSA’s Regulatory Evaluation for the Proposed Minimum Training Requirements for
      Entry-Level Commercial Motor Vehicle Operators – analysis of the U.S. Department of

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       Transportation’s proposed regulation regarding the minimum training requirements for truck and bus
       drivers
   Separable Costs–Remaining Benefits calculation for a dam reconstruction project – report on cost
      allocation for a municipal water district which assessed the relative benefits and costs of recreational
      and water-supply uses of a reservoir
   Peer review for U.S. EPA STAR Grant program – peer review of grant applications to the EPA’s National
       Center for Environmental Research; provided expertise in the areas of environmental economics,
       statistics, and policy analysis
   Evaluation of potential Natural Resource Damage liabilities at current and former aerospace
      manufacturing sites – estimated the potential costs associated with NRD liabilities at contaminated
      sites for an aerospace manufacturer, for use in negotiations with insurance carriers
   Non-compete valuation for real estate executives – assessment of the value of non-compete agreements
      for two senior executives at a real estate management firm
   Evaluation of Natural Resource Damage liabilities at an operational mining site – report on the potential
      litigation and regulatory risk associated with environmental damages at an operational mining site,
      including estimates of cost, probability, and timing
   Economic impact report for entertainment-related industry – analysis of the economic impact of an
      entertainment-related industry on the economies of four states, including the impact of content-
      generation, distribution, and retail sales on employment, output, and tax revenue
   The Past, Present, and Future Socioeconomic Effects of the Niagara Power Project – analysis of the
      economic impact of a hydro-electric facility on the local and regional economies, demographics,
      industry, and real estate as part of a supplemental environmental impact statement for re-licensing


                                               PUBLICATIONS
   “EPA Enforcement of the Renewable Fuel Standard Program,” Agriculture and Food Committee
      Newsletter, American Bar Association, Section of Antitrust Law, v. 4, n. 1, Fall 2013
   “An Economic Perspective on Food Labeling Cases,” in Intellectual Property Law360, May 30, 2013
   “Empirical Evidence and Class Certification in Labor Market Antitrust Cases,” 25 Antitrust 1 (2010), co-
      authored with John Johnson and Paul Torelli
   “Economic Approaches to Royalty Calculations,” in Intellectual Property Law360, May 25, 2010, co-
      authored with Kara Gorski
   “Intellectual Property Rights in Developing Nations,” research paper for NERA Economic Consulting,
       prepared for the International Intellectual Property Institute (2008), co-authored with Sourav
       Chatterjee, Fei Deng, Christian Dippon, and Mario Lopez
   “Commercial Success: Economic Principles Applied to Patent Litigation,” in Economic Approaches to
      Intellectual Property Policy, Litigation, and Management (Gregory K. Leonard & Lauren J. Stiroh,
      eds. National Economic Research Associates 2005); also in Economic Damages in Intellectual
      Property (Daniel Slottje ed., John Wiley & Sons 2006); co-authored with Marion B. Stewart
   “Interest and Discount Rates in Intellectual Property Damages,” in Economic Approaches to Intellectual
       Property Policy, Litigation, and Management (Gregory K. Leonard & Lauren J. Stiroh, eds. National
       Economic Research Associates 2005), co-authored with Christine Meyer
   “Determining Reasonable Compensation for Employee Inventions in Japan,” 6 Global Intellectual
      Property Asset Management Report 9 (2004), co-authored with Satoshi Nakashima

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   “Where Is the Market Failure? A Review of OSHA’s Economic Analysis for Its Proposed Ergonomics
      Standard,” 22 Journal of Labor Research 75 (2001), co-authored with Mark Berkman
   “Water Subsidies in Southern California, Do They Exist and Have They Contributed to Urban Sprawl?”
      37 California Western Law Review 121 (2000), co-authored with Mark Berkman
   “The Welfare Implications of Recycled Newsprint Regulation,” doctoral dissertation, Stanford University
      (2000).


                                             PRESENTATIONS
   “Proving Market Power in Unilateral Conduct Cases,” webinar for the ABA Section of Antitrust Law,
       Unilateral Conduct Committee, June 2020
   “Classwide Damage Models in Misleading and False Advertising Consumer Class Actions,” Strafford
       CLE webinar, November 2017
    “Hedonic Price Regressions in False Advertising Class Actions,” webinar for The Knowledge Group:
       Expert Testimony and Survey Methodology in False Advertising Cases: A 2017 Perspective, January
       2017
   “Food & Beverage Class Actions: National Trends, Best Practices, and Emerging Claims,” at Perrin
      Conference: Challenges Facing the Food and Beverage Industries in Complex Consumer Litigations,
      Chicago, IL, April 2014
   “Clone Wars: Abraham & Veneklasen Joint Venture v. American Quarter Horse Association,” webinar
      for the ABA Section of Antitrust Law, Agriculture and Food Committee, March 2014
   “Expert Data Analysis in Wage & Hours Class Actions after Dukes, Comcast, and Brinker,” at American
      Conference Institute’s 19th National Forum on Wage & Hour Claims and Class Actions, San
      Francisco, CA, September 2013
   “Food Labeling Class Actions: Economic and Legal Perspectives on the Rule 23 Predominance
      Requirement,” Edgeworth Economics Webinar, June 2013
   “Economic Issues in Pharmaceutical Patent Litigation,” at Edgeworth Economics CLE Seminar,
      Washington, DC, September 2010
   “The Evolution of a Complex Damages Report,” at Edgeworth Economics CLE Seminar, Philadelphia,
      PA, April 2010
   “Economists’ Views of Recent Patent Damages Decisions,” at Edgeworth Economics CLE Seminar,
      Washington, DC, April 2010
   “When Does a Damages Expert’s Analysis Cross the Daubert Line?” at the Judicial Education Program
      presented by Northwestern University School of Law, Chicago, IL, February 2009
   “Copyright Valuation and Damages Assessment,” at Law Seminars International Conference: Copyright
      Law Counseling, Management and Litigation, Seattle, WA, April 2008
   “Trade Secret Valuation and Damages Assessment,” at Lexis-Nexis Conference: Trade Secret Protection:
       Realizing Best Practices for Trade Secret Protection, Shanghai, China, December 2007
   “Comparables: The Use and Misuse of Benchmark Royalty Rates for Patent Damages,” at NERA CLE
      Seminar, San Francisco, CA, January 2007
   “When You Get to the Fork in the Road, Take It! Alternative Approaches to Defending your Transaction
      before the Agencies,” at NERA Antitrust Trade and Regulation Conference, Santa Fe, NM, July 2006


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   “The Role of Economic Analysis in Intellectual Property Litigation,” at Sonnenschein Nath & Rosenthal
      CLE Program, Chicago, IL, January 2006; also at NERA Intellectual Property Roundtable, Tokyo,
      Japan, July 2004
   “IP/Antitrust Lawsuits: Relevant Markets and Class Actions,” at Practising Law Institute Workshop:
       Intellectual Property Antitrust 2005, New York City, June 2005
   “The Role of Economics in Complex Business Litigation,” at Columbus Bar Association CLE Program,
      Columbus, OH, December 13, 2004
   “Is Bankruptcy the Answer?” at Asbestos Litigation Conference sponsored by Glasser LegalWorks, New
       York, NY, April 2003
   The Secondary Impact of Asbestos Liabilities, at U.S. Chamber of Commerce conference: Understanding
      Asbestos Litigation: The Genesis, Scope, and Impact, Washington, D.C., January 2003
   “Trends in Intellectual Property Litigation,” at Licensing Executives Society conference, San Jose, CA,
       April 2002
   “Environmental Risk and the Bottom Line,” at 2001 NAEM Environmental Management Forum, San
      Antonio, TX, October 2001; also at Financial Executives Summit, Scottsdale, AZ, May 2001
   “Competitive Analysis in the Refined Petroleum Products Pipeline Industry,” at Advanced Workshop in
      Regulation and Competition; Competitive Change in Network Industries 14th Annual Western
      Conference, San Diego, CA, June 2001




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